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                        UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF OHIO

                       EASTERN DIVISION (YOUNGSTOWN)


__________________________________________

OHIO PUBLIC EMPLOYEES RETIREMENT
SYSTEM, On Behalf of Itself and all Others
Similarly Situated,

                             Plaintiff,

v.                                              CIVIL ACTION NO. 4:08-cv-160

FEDERAL HOME LOAN MORTGAGE,
CORPORATION a/k/a FREDDIE MAC
RICHARD F. SYRON, PATRICIA L. COOK,
ANTHONY S. PISZEL, and EUGENE M.
McQUADE,

                           Defendants.
 _________________________________________




                       EXPERT REPORT OF MUKESH BAJAJ

                                  December 14, 2012
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I.      QUALIFICATIONS

1.     I am the Managing Director and the global head of the Securities and Finance Practice at
       Navigant Economics, a consulting firm that applies economic and financial analysis to
       legal, regulatory and business matters. Prior to that, I was the President and founder of
       AFE Consulting, an economic and financial consulting firm. Before founding AFE
       Consulting in January 2011, I served as a Senior Managing Director and the global leader
       of the Securities and Finance practice at LECG, LLC, where I was employed since 1997.

2.     In 1988, I graduated from the University of California at Berkeley earning a Ph.D. in
       Business Administration with a specialty in finance. I also was awarded an M.B.A. from
       the University of Texas at Austin in 1987. Prior to my graduate level studies, I was
       awarded a Bachelor of Technology degree in 1981 from the Indian Institute for
       Technology (Delhi, India).

3.     As a financial economist, I specialize in the study of capital markets, including the
       valuation of stocks, bonds, warrants, restricted stock and other complex contingent
       securities, intellectual property, intangible assets, corporate hedging practices (through
       derivatives and other methods), event studies to determine the significance of stock price
       reactions to particular events, market efficiency, materiality and loss causation issues
       related to securities class action claims.

4.     Since 1996, I have been engaged as an expert on numerous matters involving valuation of
       firms, their securities, and their intangible assets and intellectual property.     I have
       testified as an expert either in court or at deposition in 57 matters, including 24 matters
       concerning liability and/or damages issues in securities fraud cases. In such securities
       fraud cases, I have testified on behalf of the federal government in a criminal matter, as
       well as on behalf of both plaintiffs and defendants in civil matters.

5.     I have been asked on numerous occasions to examine the materiality of alleged
       misrepresentations and omissions in securities litigation. I have analyzed such materiality
       using my knowledge of financial economics literature, analysis of publicly available
       information and conducting event studies. I have testified on the assessment of
       materiality in numerous matters.
                                                    1
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6.      I have also been asked on multiple occasions to examine the efficiency of the markets of
        various securities including equities, preferred securities and corporate bonds. The
        empirical methods I have considered in this context are consistent with the standards that
        financial economists use as well as the standards that courts use to determine the
        efficiency of the market of the specific security in question.

7.      In addition to my work with Navigant Economics, I am also a practicing academic with
        an active research program. I am a visiting lecturer with the Haas School of Business
        (“Haas”) at the University of California at Berkeley, where I teach graduate-level courses
        in corporate finance, investments, and financial engineering. At Haas, I served as a
        Graduate Student Instructor while earning my Ph.D. between 1983 and 1988. From 1988
        to 1995, I was an Assistant Professor of Finance and Business Economics at the
        University of Southern California, in Los Angeles. I have taught the efficient markets
        hypothesis (EMH) as part of my graduate-level courses.

8.      I have authored or co-authored more than twenty-five publications and working papers in
        the field of financial economics. My research has frequently employed various statistical
        techniques, including event studies, to analyze the impact of news announcements and
        other events on companies’ stock prices. My research has been published in The Journal
        of Finance, The Journal of Financial Economics, The Journal of Financial Research, The
        Journal of Applied Finance, International Economic Review, Research in Finance, The
        Journal of Corporation Law, and The Journal of Derivatives.

9.      I am a member of the American Finance Association, the Western Finance Association,
        and the European Finance Association, and I have lectured widely on a variety of issues
        in financial economics. A curriculum vitae detailing my credentials is attached to this
        report as Appendix 1.

10.     Navigant Economics is being compensated for my work on this matter at my regular
        hourly rate of $875. That compensation is not in any way dependent on the opinions I
        express on issues in this case. I am independent of defendants, plaintiffs, and any other
        parties named in this matter. I have been assisted in my work on this case by my



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          colleagues at Navigant Economics, for whose work Navigant Economics is being paid its
          regular rates.

11.       The documents I have relied upon in connection with this affidavit are listed on Appendix
          2 and/or cited herein (including appendices to this report). If additional information
          becomes available, I reserve the right to supplement and/or modify the opinions set forth
          in this report.

II.       ASSIGNMENT AND CONCLUSIONS

12.       The Plaintiff, Ohio Public Employees Retirement System (“OPERS”), seeks to represent
          a class of investors who purchased the common stock of the Federal Home Loan
          Mortgage Corporation (“Freddie Mac” or the “Company”) from August 1, 2006 through
          and including November 20, 2007 (the “Proposed Class Period” or the “Class Period”).1
          The Plaintiff alleges that Defendants made alleged material misrepresentations and
          omissions2 “throughout the Class Period… relating to, among other things”: 3

                            (i) [Freddie Mac’s] exposure to or risk of loss from subprime
                            mortgage loans and other nontraditional, high risk mortgages,
                            including “Alt-A” mortgages (a mortgage industry term to describe
                            reduced documentation/higher credit risk loans);

                            (ii) its underwriting guidelines and Defendants’ adherence to those
                            guidelines,

                            (iii) its loan analysis software and fraud detection systems,

                            (iv) its risk management measures and its risk management
                            performance, and

                            (v) its capital position.

1
      OPERS On Behalf of Itself and all Others Similarly Situated, (collectively, “Plaintiff”), vs. Federal Home Loan
      Mortgage Corporation a/k/a Freddie Mac, Richard F. Syron, Patricia L. Cook, Anthony S. Piszel, And Eugene
      M. McQuade (collectively “Defendants”). Third Amended Complaint For Violations Of Federal Securities
      Laws, United States District Court, Northern District Of Ohio, Eastern Division (Youngstown) Civil Action No.
      4:08-cv-160 (henceforth, “the Complaint” or “TAC”), ¶13. Henceforth I refer to Freddie Mac’s specific
      financial quarters in numeric terms as Q1, Q2, Q3 or Q4 denoting the first through fourth quarter, respectively.
2
      To be concise, I will refer to alleged misrepresentations and alleged omissions together as “misrepresentations,”
      except when I treat them separately, in which case I will indicate that I am doing so.
3
      TAC, ¶2.



                                                           3
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13.       In the TAC, the Plaintiff alleges that curative disclosures related to the alleged
          misrepresentations began on November 20, 2007 (the last day of the Proposed Class
          Period) and continued until at least September 23, 2008.4

14.       The Plaintiff alleges that, in seeking damages related to the alleged misrepresentations, it
          is entitled to the presumption of reliance established by the fraud-on-the-market doctrine
          and asserts that:

              a. “At all times relevant to this Complaint, the market for Freddie Mac common
                   stock was an efficient market,” (i.e., “promptly digested current information
                   regarding Freddie Mac from all publicly available sources and reflected such
                   information in the market prices for Freddie Mac common stock at all relevant
                   times”);5

              b. The Defendants “failed to disclose material information regarding Freddie
                   Mac’s subprime exposure, internal controls, risk management, financial condition,
                   results and business operations”;6 and

              c. The Plaintiff and other members of the Class, “as purchasers of Freddie Mac
                   common stock during the Class Period, suffered similar injury through their
                   purchase of Freddie Mac’s common stock at artificially inflated prices and a
                   presumption of reliance applies.”7

15.       I have been asked by Freddie Mac’s counsel to review certain analyses and conclusions
          concerning market efficiency for Freddie Mac’s common stock (or “Freddie Mac stock”)
          proffered by the Plaintiff’s expert, Dr. Greg Hallman, in a report dated August 16, 2012
          (the “Hallman Report”). I have also been asked by Freddie Mac’s counsel to review the



4
      TAC, Section V.D.
5
      TAC, ¶266-267 (emphasis added). Henceforth, all quoted text in bold indicates emphasis that I added and
      bracketed text in quotes indicates text that I added, unless indicated otherwise.
6
      TAC, ¶268.
7
      TAC, ¶267.



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        economic evidence as it relates to the Plaintiff’s allegations that alleged
        misrepresentations and omissions were material. My principal opinions are as follows:

Opinion 1.      Dr. Hallman Fails To Establish that the Market for Freddie Mac Common
                Stock Was Semi-Strong Form Efficient During the Proposed Class Period,
                and the Results of His Event Study Suggest That It Was Not.

Opinion 2.      The Economic Evidence Does Not Support a Finding That the Alleged
                Misrepresentations and Omissions Inflated the Price of Freddie Mac’s
                Common Stock or that They Were Material.

16.     I explain the bases for these opinions below. In addition, attached to this report are
        appendices that include information referenced herein and analyses that further support
        my opinions.

17.     In particular, these appendices contain the following:

               Appendix 1: Curriculum Vitae of Mukesh Bajaj

               Appendix 2: Documents Relied Upon

               Appendix 3: Hallman ArthroCare Report

               Appendix 4: Hallman TyCom Report

               Appendix 5: Dr. Hallman Ignores Inconsistent Analyst Commentary With
                Respect to Each of the Four Analyzed Dates That Yielded Statistically
                Insignificant Results.

               Appendix 6: Dr. Hallman’s Tests of Joint Statistical Significance Are Flawed

               Appendix 7: Industry Developments Related to the GSEs That Dr. Hallman Has
                Failed To Consider in His Event Study

               Appendix 8: Freddie Mac’s Abnormal Return Is Statistically Insignificant on
                August 30, 2007 after Adjusting for Industry Effects and the Heightened
                Volatility during the Financial Crisis Post-August 9, 2007

               Appendix 9: Alleged Misstatements and Freddie Mac Stock’s Dividend Adjusted
                Return and Its Abnormal Return Following Such Alleged Misstatements.




                                                 5
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III.       DR. HALLMAN FAILS TO ESTABLISH THAT THE MARKET FOR FREDDIE MAC COMMON
           STOCK WAS SEMI-STRONG FORM EFFICIENT DURING THE PROPOSED CLASS PERIOD,
           AND THE RESULTS OF HIS EVENT STUDY ANALYSIS SUGGEST THAT IT WAS NOT.

18.        Dr. Hallman’s opinion that Freddie Mac’s stock traded in a semi-strong form efficient
           market8 throughout the Proposed Class Period rests on his mechanical review of certain
           factors that have been used by some courts as indicators of market efficiency and a
           flawed event study that purports to detect if Freddie Mac’s stock reacted to news on six
           selected dates. In particular, he cites the following eight factors drawn from the court
           decisions in Cammer v. Bloom, 711 F. Supp. 1264 (D.N.J. 1989) and Krogman v. Sterritt,
           202 F.R.D. 467 (N.D. Tex. 2001) (hereafter, Cammer and Krogman):9

                             (1)    the average weekly trading volume expressed as a
                             percentage of total outstanding shares;

                             (2)     the number of securities analysts following and reporting
                             on the stock;

                             (3)     the extent to which market makers and arbitrageurs trade in
                             the stock;

                             (4)    the company’s eligibility to file SEC registration Form S-3
                             (as opposed to Form S-1 or S-2);

                             (5)     the existence of “empirical facts showing a cause and effect
                             relationship between unexpected corporate events or financial
                             releases and an immediate response in the stock price”;10

                             (6)       the company’s market capitalization;


8
       Henceforth, I refer to the semi-strong form efficient market simply as an efficient market for ease of exposition.
       While courts in the United States require semi-strong form efficiency under the fraud-on-the-market theory, the
       market for a security can exhibit three forms of efficiency: weak form efficiency, semi-strong form or strong
       form efficiency. In a weak form efficient market, security prices reflect the information contained or present in
       “just historical prices.” [Fama, Eugene F. (1970), “Efficient Capital Markets: A Review of Theory and
       Empirical Work,” Journal of Finance 25(2), pages 383-417; henceforth, “Fama (1970)” at page 383.] In a
       semi-strong form efficient market, security prices reflect the information in historical prices as well as “other
       information that is obviously publicly available (e.g., announcements of annual earnings, stock splits, etc.).”
       Finally, in a strong form efficient market, security prices reflect “any information relevant for price formation.”
       [Fama (1970), page 383]. Given the definitions of various forms of market efficiency, it is axiomatic that if a
       market is not weak form efficient, it cannot be semi-strong form efficient.
9
       Hallman Report, ¶7.
10
       Cammer v. Bloom, 711 F. Supp.; henceforth “Cammer,” at 1287 quoted in Hallman Report, ¶7.



                                                             6
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                            (7)     the bid-ask spread for stock sales; and

                            (8)   float, the stock’s trading volume without counting insider-
                            owned stock.

19.       The Cammer court considered the fifth factor, i.e., “empirical facts showing a cause and
          effect relationship between unexpected corporate events or financial releases and an
          immediate response in its stock price” to be the most important factor in assessing semi-
          strong form efficiency. As the Cammer court explained in referring to this cause and
          effect relationship:      “This, after all, is the essence of an efficient market and the
          foundation for the fraud on the market theory.”11

20.       Dr. Hallman agrees that the fifth factor is the most important factor. At deposition, he
          stated that the following sentence from the court’s decision in In re Polymedica Corp.
          Sec. Litig., 453 F. Supp. 2d 260 (D. Mass. 2006) was consistent with his understanding:
          “The fifth factor (cause and effect relationship) is ‘in many ways the most important’ and
          was recognized in Cammer itself as ‘the essence of an efficient market and the foundation
          for the fraud on the market theory.’”12 Indeed, Dr. Hallman testified that, absent a cause
          and effect relationship, there is not an efficient market:13

                            Q. If there is no cause and effect relationship between new
                            material information about a company and quick reactions in its
                            stock price, that company’s stock does not trade in a semi-strong
                            form efficient market; is that correct?

                            A. That’s correct. That’s correct.

21.       In a semi-strong efficient market, stock prices at all times reflect all publicly available
          information and therefore, as the Complaint recognizes, stock prices should react
          “promptly,”14 often within minutes,15 to new material information regarding stock value.

11
      Cammer at 1287.
12
      Transcript of Deposition of Dr. Greg Hallman as taken December 7, 2012 (“Hallman Dep.”). 366: 25 - 367: 18.
13
      Hallman Dep., 79: 9 - 15.
14
      TAC, ¶267.
15
      Busse, Jeffrey A. and T. Clifton Green (2002), “Market efficiency in real time,” Journal of Financial
      Economics 65, pages 415–437 finds that “stocks discussed positively experience a statistically and
      economically significant price impact beginning seconds after the stock is first mentioned and lasting
                                                                                                    … continued

                                                         7
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          That is, in an efficient market, the stock price should increase promptly following
          unexpected positive news and promptly decrease following unexpected negative news,
          and such price changes should fully and correctly reflect the value of the unexpected
          news. If not, stock prices would not fully reflect all value-relevant information that was
          then publicly available and the market for these stocks would not be considered semi-
          strong form efficient. Thus, in an efficient market, a stock’s price cannot react to stale
          information, as the value of such information would already have been promptly
          impounded into the stock price when it was first released. A delayed price reaction to
          public information means that the stock did not trade in an efficient market.16 As Fama
          (1970) notes:17

                            In general, semi-strong form tests of efficient markets models are
                            concerned with whether current prices ‘fully reflect’ all obviously
                            publicly available information.

22.       As I discuss in Section III.C below, Dr. Hallman has failed to demonstrate the “cause and
          effect relationship” between unexpected corporate announcements by Freddie Mac and
          contemporaneous changes in its stock price that the Cammer court deemed “the essence
          of an efficient market and the foundation for the fraud on the market theory.”18 Indeed,
          his event study results show that Freddie Mac common stock traded in an inefficient
          market, if they prove anything at all.

23.       As Dr. Hallman notes, the other seven Cammer and Krogman factors set forth above refer
          to “structural” market conditions.19             These conditions may promote, but do not
          necessarily result in, a cause and effect relationship between new information and stock
          price movements. Accordingly, these conditions are not alone sufficient evidence of


      approximately one minute. The response to negative reports is more gradual, lasting 15 minutes, perhaps due to
      the higher costs of short selling.”
16
      Tabak, David (2010), “Use and Misuse of Event Studies to Examine Market Efficiency,” NERA Working
      Paper; henceforth “Tabak (2010)”, page 9. (Noting “A response on the day after news sounds like a potential
      effect of an inefficient market that incorporates news slowly.”)
17
      Fama (1970), page 404.
18
      Cammer at 1287.
19
      Hallman Report, ¶3.



                                                          8
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          market efficiency. A recent study examined whether “the Cammer and Krogman factors
          are sufficient for reliance” and found that the factors had “little relation” even to weak
          form efficiency, a standard lower than what is required to establish a claim of
          presumption of reliance under fraud-on-the-market theory, viz., semi-strong form
          efficiency.20 As I discuss in Section III.D below, the presence of some of these Cammer
          and Krogman factors that Dr. Hallman discusses — absent “empirical facts showing a
          cause and effect relationship between unexpected corporate events or financial releases
          and an immediate response in the stock price” — also does not establish market
          efficiency.

A.        Economists Use Event Studies and Statistical Significance Testing to Assess Market
          Efficiency.

24.       To determine if a stock trades in an efficient market, financial economists often use a
          statistical technique of hypothesis testing, known as an event study.

25.       An event study is “rooted in the basics of scientific methodology: first a hypothesis is
          proposed and then a test is conducted to see if that hypothesis can be rejected.”21
          Specifically, an event study uses statistical methods to test the hypothesis that an
          identified news event had no effect on the stock’s price. This is commonly called the
          “null” hypothesis.

26.       To test the null hypothesis, one must calculate the stock’s “abnormal return.” The
          abnormal return is the change in stock price following the identified event, adjusted for
          contemporaneous market and industry effects.22 As I explain below, the null hypothesis
          can only be rejected if the abnormal return is statistically significant.



20
      Erenburg, Grigori, Janet Kiholm Smith and Richard L. Smith (2011), “The Paradox of ‘Fraud-on-the-Market
      Theory’: Who Relies on the Efficiency of Market Prices?” Journal of Empirical Legal Studies, Volume 8, Issue
      2, pages 260-303.
21
      Tabak, David “Use and Misuse of Event Studies to Examine Market Efficiency,” NERA Economic Consulting,
      April 2010, [henceforth “Tabak (2010)”] page 4.
22
      Tabak (2001), page 19-2. Dr. Hallman concedes that he has made no such industry adjustment in his event
      study in this case [Hallman Dep., 284:18] while he did do so in the Hallman ArthroCare Report [Hallman Dep.,
      286:14 – 18].



                                                         9
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27.       To demonstrate a cause and effect relationship using an event study, one must first be
          able to reject the null hypothesis, i.e., rule out the possibility that the abnormal return was
          indistinguishable from zero (or attributable to chance alone rather than the identified
          news event) with an acceptably high degree of certitude.

28.       The steps of an event study are as follows. One must first review and select the relevant
          news to be examined.23 As Tabak (2010) explains, “the relevant academic literature is
          clear: first one identifies news and then measures price movements associated with that
          news.”24 The next step in an event study is to establish the event window, which is the
          period over which the potential impact of news on the stock’s price is assessed.25 For
          instance, Dr. Hallman uses a one-day event window.26

29.       After identifying relevant events and establishing the appropriate event windows, a
          proper event study must attempt to isolate the portion of the stock’s observed price
          change that is not attributable to market and industry effects, i.e., calculate the stock’s
          abnormal return. As Bodie et al. notes, a stock’s price on any day could be affected by “a
          wide range of economic news such as updated forecasts for GDP [Gross Domestic
          Product], inflation rates, interest rates, or corporate profitability.”27 Therefore,
          “[i]solating the part of a stock price movement that is attributable to a [company-]specific
          event is not a trivial exercise.”28

30.       As noted in Tabak and Dunbar (2001), a study cited by Dr. Hallman, the calculation of
          abnormal returns is accomplished by estimating “a predicted stock price return, or
          percentage change, from the day before the news reaches the market to the day the stock

23
      Tabak (2010) at page 4; also see Tabak, David I. and Frederick C. Dunbar (2001), “Materiality and Magnitude:
      Event Studies in the Courtroom,” in Litigation Services Handbook: The Role of the Financial Expert, Third
      Edition, ed. by Roman L. Weil, Michael J. Wagner and Peter B. Frank, John Wiley & Sons, Inc. USA
      henceforth, “Tabak and Dunbar (2001)” at 19-4 (cited by Dr. Hallman at Hallman Report at ¶17, n. 22).
24
      Tabak (2010), page 4.
25
      Tabak and Dunbar (2001), page 19-4.
26
      Hallman Report, Table 1 shows Freddie Mac’s abnormal return over one-day periods following events.
27
      Bodie, Zvi, Alex Kane and Alan J. Marcus, (2011), Investments, McGraw-Hill Irwin, New York, NY;
      henceforth “Bodie et al.” at page 353; cited in Hallman Report, footnote 6, page 5.
28
      Bodie et al., page 353.



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          price assimilates the news, using a [regression] model that takes into account market and
          industry effects on stock price returns … [and subtracting] the predicted return from the
          actual return to compute the so-called abnormal return.”29 Further, a central assumption
          in using regression models to predict returns is that the volatility remains unchanged over
          the relevant period.30 As I explain later, Dr. Hallman’s conclusions are speculative
          because he fails to account for the heightened volatility during the global credit crisis
          (which began August 9, 2007).

31.       After the stock’s abnormal return is calculated, one must assess its statistical significance
          to determine if the null hypothesis can be rejected. As Tabak and Dunbar (2001) note:
          “Typically, the predicted return does not exactly equal the actual return even when no
          event has occurred.        To decide whether the difference between the actual and the
          predicted return [the abnormal return] … results merely from chance, one tests for
          statistical significance.”31

32.       An abnormal return is considered “statistically significant” when the likelihood that it
          occurred purely as a matter of chance is small. 32 On the other hand, if a stock’s abnormal
          return is statistically indistinguishable from zero, it is deemed to be “statistically
          insignificant.” In such a case, the event study’s null hypothesis cannot be rejected.33 That
          is, where the results of the event study are statistically insignificant, they cannot support
          the conclusion that the identified news caused any stock price reaction.34




29
      Tabak (2001), page 19-2.
30
      Kennedy, Peter, A Guide to Econometrics, 5th edition. MIT Press, pages 47-48.
31
      Tabak and Dunbar (2001), page 19-3, Bodie et al., page 354.
32
      “In general, a test of significance aims to answer the question of whether an observed difference is real or
      simply occurred by chance.” [Mitchell, Mark L. and Jeffry M. Netter (1994), “The Role of Financial Economics
      in Securities Fraud Cases: Applications at the Securities and Exchange Commission,” The Business Lawyer,
      Vol. 49; henceforth “Mitchell and Netter (1994),” page 564.]
33
      Kaye and Freedman, Judicial Reference Guide, page 251.
34
      Tabak and Dunbar (2001), page 19-3.



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33.       In layman’s terms, event study results that are not statistically significant cannot form the
          basis for a conclusion that the market for a security was efficient.35

34.       To determine the statistical significance of an abnormal return, economists first calculate
          how large the abnormal return is relative to its historical fluctuation. This standardized
          measure of the abnormal return is referred to as a t-statistic.36 To check if a stock price
          reacted significantly following an event, economists measure the stock’s t-statistic
          following the event and calculate what is known as its p-value, which is the probability
          that the observed t-statistic (and the associated abnormal return) could be due to chance
          alone. 37 Conventionally, if the p-value is less than 5% (the conventional significance
          level threshold), one can reject the possibility that the abnormal return was due to chance
          alone and conclude that the abnormal return is statistically significant at a 95%
          confidence level.38

35.       As noted above, the null hypothesis in an event study is that there is no cause and effect
          relationship between material information and stock price reaction. In mathematical
          terms, this means that the null hypothesis is that the abnormal return following an event is
          zero. 39 Therefore, such a hypothesis is rejected if the t-statistic is either positive or
          negative to a statistically significant degree that rules out the possibility that it was
          attributable to chance alone, i.e., if the t-statistic lies at either of the two tails of the bell
          curve. A test that examines if the variable of interest (in this case the t-statistic) lies at
          either tail of the bell curve is referred to as a “two-tailed” test.




35
      Tabak and Dunbar (2001), page 19-3.
36
      The t-statistic is defined as a ratio, which is calculated by dividing the abnormal return by its volatility
      (“standard error”). Consequently, if the abnormal return is zero, so is the t-statistic. [Mark P. Kritzman (1994),
      “What Practitioners Need to Know About Event Studies,” Financial Analysts Journal, pages 17 -20].
37
      “In general, a test of significance aims to answer the question of whether an observed difference is real or
      simply occurred by chance.” [Mitchell and Netter (1994), page 564.]
38
      “In general, a test of significance aims to answer the question of whether an observed difference is real or
      simply occurred by chance.” [Mitchell and Netter (1994), page 564.]
39
      MacKinlay, A.C., 1997, “Event Studies in Economics and Finance,” Journal of Economic Literature 35, pages
      13-39 [henceforth “MacKinlay (1997)”].



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36.       The null hypothesis in a market efficiency test is that there is no cause and effect
          relationship. So if this hypothesis is true then it means that the stock’s price reaction to
          news may be positive or negative, or indistinguishable from zero, regardless of the nature
          of the news. Therefore, it is incorrect to reject the null hypothesis by presuming that the
          stock price will react in a particular direction and then check if the reaction was strong
          enough to be considered significant, as Dr. Hallman has done by using a one-tailed test
          (which examines if the t-statistic lies only at one tail of the bell curve).

37.       Generally, economists do not reject the null hypothesis unless the abnormal return’s two-
          tailed p-value is less than 5%.40            At his deposition, Dr. Hallman agreed with this
                      41
          statement.       A textbook that Dr. Hallman has used for many years to teach college
          courses, Bodie et al., makes the same point. As it states: “The conventional cutoff for
          statistical significance is a probability of less than 5%, which requires a t-statistic of
          about 2.0.”42

38.       Once the stock’s abnormal return is found to be statistically significant using a two-tailed
          test, it is then necessary to confirm that it was in the right direction in order to conclude
          that a cause and effect relationship existed between material news and the stock’s price.
          That is, the abnormal return must be significantly positive following the release of good
          news that is expected to increase the stock’s value, and significantly negative following
          the release of bad news that is expected to decrease the stock’s value.

39.       Therefore, after confirming that a stock’s abnormal return following an event is
          statistically significant, one must also ensure that the abnormal return is in the logical
          direction in order to establish the cause and effect relationship. If the abnormal return is
          statistically significant but (i) positive following the release of bad news; or (ii) negative
          following the release of good news, then the evidence contradicts the claim that the stock
          trades in an efficient market.


40
      See Kaye and Freedman, Judicial Reference Guide, page 251.
41
      Hallman Dep., 67: 3 - 7.
42
      Bodie et al., page 257; Hallman Dep., 66: 18 - 67: 7.



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40.       I note that, in his expert report in the only other case in which he has provided an expert
          opinion on market efficiency,43 In re ArthroCare Corp. Securities Litigation dated May
          20, 2011 (“Hallman ArthroCare Report”), Dr. Hallman used the two-tailed test and a 5%
          level of confidence as the appropriate approach.44 Dr. Hallman also testified that in all of
          the event studies that he previously performed (approximately 50),45 he cannot recall ever
          before using as the cutoff for statistical significance a one-tail p-value of 10%, which is
          the equivalent of a two-tailed p-value of 20%.46 Dr. Hallman could not identify in his
          deposition any authority for doing so.47

41.       Likewise, in another securities case, the TyCom Ltd. Securities Litigation (which was
          consolidated in the In re Tyco International, Ltd. Multidistrict Litigation), Dr. Hallman
          submitted an expert report (“Hallman TyCom Report”) in which he set forth the results of
          an event study drawing conclusions using a 5% cutoff for statistical significance.48

42.       Holding the t-statistic value constant, the p-value of a two-tailed test is twice as large as
          that of a one-tailed test. Dr. Hallman uses a one-tailed p-value test to assess if Freddie
          Mac’s stock reacted to news on 6 Analyzed Dates. Consequently, as I explain later, his
          test is designed to increase the odds of reaching his stated conclusion, i.e., designed to
          increase the odds of rejecting the null hypothesis (that there is no cause and effect
          relationship between news and stock price reactions).

B.        Dr. Hallman’s Event Study Does Not Support a Finding That Freddie Mac’s Stock
          Price Reacted Quickly and Logically to Unexpected Material News.

43.       In his event study, Dr. Hallman analyzed Freddie Mac’s purported price reaction to
          “news vs. expectations” on six Analyzed Dates.49 Dr. Hallman’s event study shows that

43
      Hallman Dep., 10:13-20.
44
      Hallman Dep., 166: 12 - 21; Hallman ArthroCare Report attached as Appendix 3.
45
      Hallman Dep., 193:23-25.
46
      Hallman Dep., 151: 11 – 16.
47
      Hallman Dep., 151: 11 – 16.
48
      Hallman Dep., 140: 11 - 141: 8; Hallman TyCom Report attached as Appendix 4.
49
      The Analyzed Dates in Dr. Hallman’s event study are October 3, 2006, January 5, 2007, March 23, 2007, June
      14, 2007, August 30, 2007, and November 20, 2007. See Hallman Report, Table 1.


                                                       14
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          Freddie Mac’s abnormal return was not statistically significant on four of the six
          Analyzed Dates at the 95% confidence level, as the associated p-values were greater than
          5%.50 In fact, Freddie Mac’s abnormal return was not even statistically significant at a
          10% level using a one-tailed test that Dr. Hallman incorrectly applied. Thus, Dr.
          Hallman’s results taken at face value, at best demonstrate that Freddie Mac’s stock price
          reacted to news in a statistically significant manner on only two days, both of which
          occurred after the onset of the global financial crisis (August 30, and November 20,
          2007). During the Class Period, there were 330 trading days. Showing that the stock
          price reacted significantly to news on two out of 330 trading days, or 0.61% of trading
          days, in the Proposed Class Period does not prove that Freddie Mac’s stock traded in an
          efficient market throughout the Proposed Class Period. Further, Dr. Hallman has failed to
          control for industry effects and heightened volatility in the credit crisis period. Correcting
          for such errors, as I explain later, Freddie Mac’s abnormal return on August 30, 2007 is
          also not statistically significant (under the two tailed test and 5% significance level).

44.       Dr. Hallman chose the six Analyzed Dates based on his view that those dates were likely
          dates where material news entered the market. As he explains in the Hallman Report:51

                             The standard event study methodology is well suited to analyze the
                             stock price reaction around Freddie’s earnings announcements
                             during the class period to test for a cause and effect relationship
                             between financial news releases and stock returns, because
                             earnings announcements are events where Freddie Mac releases
                             new financial information to the market.

45.       Dr. Hallman reports the results of his event study in Table 1, set forth on page 14 of the
          Hallman Report.         I produce that same information in that Table below, adding an
          additional column on the far right indicating the two-tailed p-values that correspond to
          the one-tailed p values that Dr. Hallman reported for each event.52 In his deposition, Dr.


50
      Hallman Report, Table 1; Hallman Dep., 149: 16 - 21. These four dates are October 3, 2006; January 5, 2007;
      March 23, 2007; and June 14, 2007. The two remaining dates that Dr. Hallman analyzed are: August 30, 2007
      and November 20, 2007.
51
      Hallman Report, ¶18.
52
      Hallman Report at p. 14, Table 1.



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           Hallman confirmed his understanding that, holding other factors constant, two-tailed p-
           values are always twice the amount of the one-tailed p-value for the same event, which is
           correct.53

Calendar       News Vs.              Release Title                Period   Abnormal    One-tail p   Two-tail p
 Date         Expectations                                       Covered    Return

10/3/06       Positive       “Freddie Mac Provides Market       H1 06      1.2%       11.9%         23.8%
                             Update”
1/5/07        Weakly         “Freddie Mac Provides              Q3 06      -1.0%      16.3%         32.6%
              Negative       Quarterly Market Update”
3/23/07       In-Line        “Freddie Mac Reports 2006          2006       0.2%       44.2%         88.4%
                             Financial Results”
6/14/07       Negative       “Freddie Mac Releases First        Q1 07      -1.3%      10.7%         21.4%
                             Quarter 2007 Financial
                             Results; Company Resumes
                             Quarterly Reporting”
8/30/07       Negative       “Freddie Mac Releases              Q2 07      -4.7%      0.0%          0.0%
                             Second Quarter 2007
                             Financial Results; Net Income
                             of $764 Million, Fair Value
                             Increase of $800 Million”
11/20/07      Negative       “Freddie Mac Reports Third         Q3 07      -29.0%     0.0%          0.0%
                             Quarter 2007 Net Loss of $2.0
                             Billion or $3.29 Per Diluted
                             share”



46.        As Dr. Hallman notes and I agree, the very definition of the semi-strong form efficient
           market is “a market in which stock prices reflect all publicly available information, and
           stock prices react quickly to new material information (news) regarding stock value.”54 If
           stock prices do not promptly respond to such unexpected news, the market for that stock
           is not efficient.55

47.        Further, as I noted above, p-values can be determined using a one-tailed or two-tailed
           test. For a given t-statistic value, a two-tailed p-value is double that of a one-tail p-

53
      Hallman Dep., 61:25 – 62:5.
54
      Hallman Report, ¶8.
55
      Tabak, David (2010), page 9. (Noting “A response on the day after news sounds like a potential effect of an
      inefficient market that incorporates news slowly.”)



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          value.56 Thus, a two-tailed p-value of 5% equals a one-tail p-value of half that amount,
          or 2.5%. Likewise, a one-tailed p-value of 10% equals a two-tailed p-value of twice that
          amount, or 20%. As the p-value measures the probability that the stock’s abnormal
          returns could be due to chance alone, it follows that using a one-tailed test (as Dr.
          Hallman employed in this case) increases the odds of rejecting the null hypothesis. For
          instance, using the conventional significance level cutoff of 5%, if a stock’s abnormal
          return has a two-tailed p-value of 7%, then one could not reject the null hypothesis that
          the stock did not trade in an efficient market using a two-tailed test. However, using a
          one-tailed test, one would draw the opposite conclusion (as the one-tailed p-value in this
          case would be 3.5%, which is less than the convention cut-off of 5%).

48.       Indeed, as noted above, “the conventional cutoff for statistical significance is a
          probability [or two-tail p-value] of less than 5%,” which equates to a one-tailed p-value
          of 2.5%.57 In the Hallman ArthroCare Report, the only other case in which he has
          provided an expert opinion on market efficiency,58 Dr. Hallman used the two-tailed test
          and a 5% level of confidence as the appropriate approach which is four times more
          stringent than the approach he used here.59

49.       Of the six Analyzed Dates, Dr. Hallman’s event study shows that abnormal returns for
          four of those dates were not statistically significant even under the weak standard of a
          one-tailed p-value test at a 95% confidence level.                   Specifically, Dr. Hallman has
          calculated one-tailed p-values of 11.9%, 16.3%, 44.2% and 10.7% for Freddie Mac’s first
          four earnings releases during the Proposed Class Period.60 These results equate to two-
          tailed p-values of 23.8%, 32.6%, 88.4% and 21.4% as shown in the table above. The
          abnormal returns for these corresponding dates are not statistically significant because
          their p-values are all more than four times the conventional two-tail p-value cutoff of 5%.


56
      Kaye and Freedman, Judicial Reference Guide, page 255.
57
      Bodie et al., page 257.
58
      Hallman Dep., 10:13-20.
59
      Hallman Dep., 166: 12 - 21.
60
      Hallman Report, Table 1. I have bolded the results on these four dates in Table 1 above.



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50.       As Dr. Hallman testified at deposition, his own event study results show that Freddie
          Mac’s abnormal return was not statistically significant on these four dates.           More
          specifically, Freddie Mac’s abnormal return on these four dates was not statistically
          significant at conventional significance cutoff levels,61 or even “close to traditional and
          accepted measures of statistical significance”62 such as he had used in the Hallman
          ArthroCare Report (namely, a two-tailed p-value test and statistical cutoff of 5%).63
          Further, correcting for Dr. Hallman’s failure to adjust for heightened volatility and
          industry effects, I found that Freddie Mac’s abnormal return on August 30, 2007 is also
          not statistically significant (under the two tailed test and 5% significance level), as I
          explain later.

51.       On four of the six dates he tested, Freddie Mac’s abnormal return had a one-tail p-value
          of over 10% (which is the equivalent of a two-tail p-value of over 20%). Again, as the
          academic literature makes clear in discussing two-tailed tests, “[t]he conventional cutoff
          for statistical significance is a probability [p-value] of less than 5%.”64       Thus, Dr.
          Hallman’s results establish that four events had two-tailed p-values of over 20%, which is
          four times the “conventional cutoff for statistical significance.”65 Indeed, as Dr. Hallman
          conceded at his deposition, even when using as the cutoff for statistical significance the
          one-tailed p-value of 10% (which Dr. Hallman admitted he never used before and had not
          seen used), the result for those same four of six events he tested lacked statistical
          significance. In other words, those four events lacked statistical significance even when
          using as a cutoff for statistical significance a value that is four times the one used in the
          Hallman ArthroCare Report when opining on the market efficiency issue.




61
      Hallman Dep., 148: 17 - 149: 4.
62
      Hallman Report, ¶27.
63
      Hallman Dep., 232: 6 - 14.
64
      Bodie et al. at 257.
65
      Bodie et al. at 257.



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52.       That is, the possibility that Freddie Mac’s price change on each of those four dates was
          due to chance alone cannot be ruled out at the conventional confidence level that such
          studies require and that Dr. Hallman has adopted in previous reports.

53.       I am familiar with a couple of judicial decisions, where courts have rejected event studies
          like Dr. Hallman’s. In PolyMedica, plaintiff’s expert had found that the stock price
          reacted significantly to news on five (or 3.13%) of 160 trading days in the contested
          period in that case.66 However, the Court opined that a “mere listing of five days on
          which news was released and which exhibited large price fluctuations proves nothing.”67
          That is, in PolyMedica the Court concluded that even five times (=3.13/0.61) as much
          evidence that Dr. Hallman has produced in this case “proves nothing.”68

54.       In Freddie Mac Kreysar the court stated that: “A plaintiff must show that the market
          price responds to most new, material news.”69 In that case, the plaintiffs’ expert, Dr.
          Craig McCann, offered an opinion that the market for Freddie Mac’s Series Z preferred
          securities was efficient between November 29, 2007 and September 6, 2008 according to
          two event studies.70       At his initial deposition, Dr. McCann testified that “if new
          information had been released into the market on each of his initial 28 event days, one
          could expect to see statistically significant abnormal returns on each of the 28 days in an
          efficient market.”71 I was the expert for the defendants in that case, and the court noted
          that I had testified that “an economist may conclude that a market is efficient if it reacts
          to news 80 to 90% of the time, depending on the number of news dates at issue.”72


66
      Memorandum and Order, In Re PolyMedica Corp. Securities Litigation, United States District Court, District
      Of Massachusetts, 1: 00-cv-12426-WGY, September 28, 2006; henceforth “PolyMedica District Court
      Opinion”, pages 1 and 15.
67
      PolyMedica District Court Opinion, page 15.
68
      PolyMedica District Court Opinion, page 15.
69
      Opinion, In Re Federal Home Loan Mortgage Corp. (Freddie Mac) Securities Litigation, United States District
      Court, Southern District Of New York, 09 Civ. 832 (Mgc), 09 Md 2072 (Mgc), March 27, 2012; henceforth
      “Freddie Mac Kreysar Opinion,” page 18.
70
      Freddie Mac Kreysar Opinion, page 13.
71
      Freddie Mac Kreysar Opinion, page 19.
72
      Freddie Mac Kreysar Opinion, page 19.



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55.       Based on his two event studies, McCann generated results similar in a key way to Dr.
          Hallman’s results. There, Dr. McCann had analyzed nearly ten times as many dates (57
          “news days”) as Dr. Hallman does here. He found statistically significant abnormal
          returns on 28% of the news days he examined, using a two-tailed test with a 5% p-value
          cutoff for statistical significance.73 Holding that showing to be insufficient, the court
          explained:        “Even accounting for market ‘noise’ — extraneous circumstances and
          confounding effects — McCann’s showing that the market reacted to news only 28% of
          the time is insufficient to satisfy the most important Cammer factor, the cause and effect
          relationship between unexpected news and price.”74

56.       Here, Dr. Hallman has analyzed only six dates, and he has found that Freddie Mac’s price
          reacted statistically significantly to news on only two of those dates (which constitutes
          less than 1% of the 330 trading days in the Proposed Class Period, and only 33% of the
          dates he chose to test). Further, Dr. Hallman’s event study is defective as he fails to
          control for industry effects and heightened volatility post August 9, 2007. As I explain
          later, accounting for these factors, Freddie Mac’s abnormal return on August 30, 2007
          was not statistically significant using a two-tailed test and 5% significance level. Such
          results do not show that the market price for Freddie Mac stock responded to “most new,
          material news.”75

57.       Dr. Hallman’s results are inconsistent with his opinion that the market for Freddie Mac’s
          stock was semi-strong form efficient throughout the Proposed Class Period. Contrary to
          his claim, Dr. Hallman’s event study results do not even suggest, let alone demonstrate,
          that Freddie Mac’s stock traded in an efficient market throughout the Proposed Class
          Period.76

58.       For the reasons discussed in detail below, it is my opinion that Dr. Hallman’s event study
          is flawed and unreliable. As I noted above, however, even taking his results at face

73
      Freddie Mac Kreysar Opinion, page 17.
74
      Freddie Mac Kreysar Opinion, page 19.
75
      Freddie Mac Kreysar Opinion, page 18.
76
      Hallman Report, ¶3.



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          value, his study shows that the market for Freddie Mac stock was not semi-strong form
          efficient. To the extent that any logical conclusion can be drawn from Dr. Hallman’s test
          results, it is that no consistent cause and effect relationship existed between Freddie Mac-
          related events and movements in Freddie Mac’s stock price during the Proposed Class
          Period.

59.       As set forth below, Dr. Hallman’s report suffers from many flaws. However, an
          economist needs only to review Dr. Hallman’s calculated p-values to know that his report
          cannot support a conclusion that the market for Freddie Mac common stock was semi-
          strong form efficient during the Proposed Class Period. Rather, his statistical results
          support the opposite conclusion, i.e., Freddie Mac stock did not trade in an efficient
          market. That is because, as discussed further below, even using flawed event study
          methodologies, Dr. Hallman finds that Freddie Mac’s stock price reacted statistically
          significantly to news on only two dates in the entire 330 trading day-class period. No
          reliable conclusion respecting the efficiency of a market throughout a 330-day trading
          period can possibly be based on evidence related to two days.

C.        Dr. Hallman’s Event Study Analysis Is Fundamentally Flawed, And Consequently
          Its Results Are Unreliable.

          Flaw 1: Dr. Hallman claims that statistical significance is not a necessary element
                  of an event study.
60.       As Dr. Hallman has acknowledged in his deposition, his own event study results show
          that Freddie Mac’s abnormal return was not statistically significant on four of the six
          Analyzed Dates at conventional significance cutoff levels,77 or even “close to traditional
          and accepted measures of statistical significance”78 such as he had used in the Hallman
          ArthroCare Report (namely, a two-tailed p-value test and statistical cutoff of 5%).
          Indeed, the results for those four dates even exceeded the 10% one-tail p-value cutoff that
          Dr. Hallman used for the first time in his report here. Thus, Dr. Hallman’s results do not
          support the finding that Freddie Mac’s stock traded in a semi-strong form efficient
          market through the Proposed Class Period.
77
      Hallman Dep., 148: 17 - 149: 4; 149: 16 - 21.
78
      Hallman Report, ¶27.


                                                      21
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61.       Nevertheless, in an attempt to validate his purported event study analysis, Dr. Hallman
          claims that the Cammer and Krogman decisions do not require the stock’s price reaction
          to be statistically significant to establish a cause and effect relationship.79 He repeated
          this claim in his deposition, stating that he “doesn’t think that statistical significance …
          makes sense as a condition of market efficiency.”80 Such an assertion has no economic
          basis and violates the well-established statistics and economic principles on which event
          studies are grounded.

62.       Dr. Hallman claims that market efficiency was “something that got tested a number of
          times in the ‘70s”, but that it is no longer tested in academic studies.81 To the contrary,
          over 7,000 papers on market efficiency and event studies have been published in leading
          academic journals since the 1970s82 and more than 6,500 papers have been posted to the
          leading repository of latest research papers.83               Dr. Hallman’s claim that statistical
          significance of abnormal returns is not necessary for testing market efficiency84 is
          incorrect as even a basic text on the subject notes.85

63.       As Dr. Hallman acknowledged in his deposition, absent a cause and effect relationship
          between material news about a company and movements in its stock price, a semi-strong
          form efficient market cannot exist for the trading of its stock.86 A statistical technique,



79
      Hallman Report, ¶27.
80
      Hallman Dep., 46: 21 – 47: 3.
81
      Hallman Dep., 114: 20 – 115: 7.
82
      There are 7,495 published academic papers in the English language on “information and market efficiency as
      well as event studies” [i.e., classified under Journal of Economic Literature Classification Code G14] according
      to EconLit (a comprehensive index of research publications maintained by American Economic Association).
83
      Social Sciences Research Network (SSRN) listed 6967 papers in the "Capital Markets: Market Efficiency
      Journal" that were Posted to the database in year 2000 or later. SSRN is a worldwide collaborative of over
      212,000 authors and more than 1.3 million users that is devoted to the rapid worldwide dissemination of social
      science research and has been named the Number 1 Open Access Repository in the World for April, 2012 by
      the Ranking Web of World Repositories.
84
      Hallman Report, ¶27 and Hallman Dep., 152: 23 - 25.
85
      Damodaran, Aswath, Investment Valuation: Tools and Techniques for Determining the Value of Any Asset,
      Second Edition, Wiley.
86
      Hallman Dep., 79: 9 - 15.



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          called an event study,87 is used to determine whether such a cause and effect relationship
          exists. As Dr. Hallman conceded, in a statistical test such as an event study, no reliable
          conclusion can be based on any test results that lack statistical significance.88 Such test
          results do not eliminate to any reliable degree of confidence the possibility that the
          abnormal stock price movement resulted from chance.89 For this reason, it is not possible
          to form a valid conclusion about the market efficiency of a stock from an event study
          unless the study yields enough statistically significant price reactions to news in the
          correct direction from which one can draw reliable statistical conclusions. Dr. Hallman’s
          study did not come close to doing so.

64.       In his deposition, Dr. Hallman conceded that, if an abnormal return is not statistically
          significant, then the possibility that it is due to chance alone cannot be rejected with an
          acceptable degree of certitude.90              Consequently, it is incorrect from an economic
          perspective to claim that the abnormal return on a given date was caused by some
          “unexpected corporate event,” if the abnormal return is not statistically significant.91 One
          cannot validly ascribe an explanation to an event study result that is not statistically
          significant because it may have resulted from chance alone.92 Dr. Hallman’s claim thus
          violates the economic logic of the Cammer and Krogman decisions.

65.       In fact, in Krogman, the Court rejected the plaintiff expert Miller’s attempt to prove that
          there was a cause and effect relationship between CIC’s stock price and unexpected news




87
      Hallman Dep., 192: 11 -21.
88
      Hallman Dep., 93: 5 - 13.
89
      Hallman Dep., 45: 22 - 46: 8; 57: 5 - 11; 189: 20 - 25; 196: 13 - 18.
90
      Hallman Dep., 57: 5 - 11; 196: 13 - 18.
91
      Cammer at 1287.
92
      Hallman Dep., 58: 8 - 12; “In general, a test of significance aims to answer the question of whether an observed
      difference is real or simply occurred by chance.” [Mitchell, Mark L. and Jeffry M. Netter (1994), “The Role of
      Financial Economics in Securities Fraud Cases: Applications at the Securities and Exchange Commission,” The
      Business Lawyer, Vol. 49; henceforth “Mitchell and Netter (1994),” page 564.]



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          by identifying a “correlation between CIC’s stock price and the news about CIC reported
          in ninety-five news articles.”93 The Court concluded:94

                            Because the Plaintiff has failed to show any reliable relationship
                            between changes in CIC’s stock price and news events, the Court
                            concludes that this factor weighs heavily against a finding of
                            market efficiency.

66.       Similarly, the Court in the Freddie Mac Kreysar Opinion held: “In an efficient market,
          stock prices should show statistically significant abnormal returns on days in which
          unexpected, material information is released into the market.”95          At deposition, Dr.
          Hallman admitted that, to provide a basis for drawing a reliable conclusion, test results
          must be statistically significant. He testified:96

                            Q. Then you would decide whether the difference between the
                            actual return and the predicted return results merely from chance,
                            correct?

                            A. Right. You would get a P value and see what likelihood, what
                            is the likelihood of getting that abnormal return, if the true value
                            were zero.

                            Q. So you test the abnormal return for statistical significance,
                            correct?

                            A. Yes. Yes. You report a P value.

          He testified:97

                            Q. Now, in order for a statistical test result to provide a basis for
                            drawing a reliable conclusion, that result must be statistically
                            significant, right?




93
      Krogman, page 16.
94
      Krogman, pages 16-17.
95
      Freddie Mac Kreysar Opinion, page 12.
96
     Hallman Dep,, 45: 22 - 46: 8.
97
      Hallman Dep., 93: 5 - 13.



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                             A. Yeah. If you want to say that I ran this test and that abnormal
                             return is statistically significant different from zero, then [you
                             would] have to have a statistically significant result.

67.       In my entire career, I have never reviewed an event study that rejected statistical
          significance as an essential element of the study. As I discussed above, in the event
          studies Dr. Hallman himself proffered as part of his expert reports in the ArthroCare and
          TyCom cases, he included an assessment of statistical significance. I have attached his
          expert reports in those two matters as Appendices 3 and 4.

          Flaw 2: Dr. Hallman ascribes significance to statistically insignificant abnormal
                  returns.
68.       In his report in this case, Dr. Hallman states that three of the six events he analyzed “have
          results that are close to traditional and accepted measures of statistical significance with
          one-tailed p-values above 10% but below 20%.”98 (There is a fourth event with a p-value
          of 44.2%.)

69.       Dr. Hallman fails to provide any support for this assertion, and he fails to explain how his
          results are “close” to conventional measures of statistical significance. Notably, Dr.
          Hallman testified that he is not aware of any authority that supports even the use of a one-
          tailed p-value of 10% as the cutoff for statistical significance in an event study test of
          market efficiency.99      Further, he cannot identify a single expert report he has ever
          prepared where he used a one-tailed p-value of 10% as the cutoff for statistical
          significance.100

70.       As I explained above, economists generally consider one-tailed p-values of 5% or greater
          to be weak evidence of statistical significance. Dr. Hallman’s results (one-tailed p-values
          of 10.7%, 11.9% and 16.3%)101 are not “close” to “traditional and accepted measures of
          statistical significance.” They all substantially exceed the two-tailed conventional cutoff


98
      Hallman Report, ¶27 (emphasis added).
99
      Hallman Dep., 151: 19 - 24.
100
      Hallman Dep., 157: 9 - 15.
101
      Hallman Report, ¶27.



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          for statistical significance, which is a two-tailed p-value of 5% (which equates to a one-
          tailed p-value of 2.5%). Nor could Dr. Hallman cite any academic or legal authority that
          permits an event study to ascribe statistical significant to results that fall outside of, but
          are allegedly close to, the cutoff for statistical significance.102

71.       At deposition, Dr. Hallman conceded that Freddie Mac’s abnormal returns on four of the
          six dates that he tested were not statistically significant.103 In addition, at deposition, Dr.
          Hallman testified that he does not regard a p-value of 20% or more to be close to a p-
          value of 5% or less.104 As Dr. Hallman admitted when questioned, results that are more
          than four times greater than the cutoff for statistical significance that he himself used in
          the Hallman ArthroCare Report (i.e., a two-tailed test at 5%) are not close to statistically
          significant.105

72.       That is the case here. According to Dr. Hallman’s own event study results, Freddie
          Mac’s abnormal returns’ two-tailed p-values are at least 400% of the conventional
          significance cut-off of a two-tailed p-value of 5%106 for four of the six Analyzed Dates.

73.       In addition, Dr. Hallman’s observation that these results are “close” ignores the purpose
          of assessing statistical significance — to establish a quantifiable measure that can
          distinguish between occasions on which a hypothesis is proven and occasions on which it
          is not.     As Dr. Hallman concedes, a statistically insignificant abnormal return is
          statistically indistinguishable from zero.107

74.       As noted above, Tabak and Dunbar (2001) explain the purpose of statistical significance
          testing in an event study: “To decide whether the difference between the actual and the
          predicted return … results merely from chance, one tests [the abnormal return] for


102
      Hallman Dep., 74: 6 – 14.
103
      Hallman Dep., 149: 16 - 21.
104
      Hallman Dep., 72: 9 - 13.
105
      Hallman Dep., 150:17 - 24.
106
      Hallman Dep., 148:17 - 24.
107
      Hallman Dep., 57: 5 – 15; 196: 13 – 18.



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          statistical significance.”108 If a stock’s abnormal return is not statistically significant
          following an event, the reaction could have occurred even absent the identified event109
          and thus, it is meaningless from an economic perspective to assign a “direction” (positive
          or negative) to the abnormal return. At his deposition, Dr. Hallman admitted that the
          direction of a statistically insignificant abnormal return is meaningless from a statistical
          perspective, and that he cannot identify any economic literature that supports the
          approach of assigning the logical direction to a statistically insignificant abnormal
          return.110

75.       When asked about the quote above from Tabak and Dunbar (2001) at his deposition, Dr.
          Hallman testified as follows:111

                            A:      Quote, “Typically, the predicted return does not exactly
                            equal the actual return, even when no event has occurred. To
                            decide whether the difference between the actual and the predicted
                            return (the CAR) results merely from chance, one tests the CAR
                            for statistical significance as described in Section 9.4A.” Do you
                            see that?

                            A.         Yes.

                            Q.         Okay. Do you agree with that sentence?

                            A.         Yeah. Sure.

                            A.      So then the event study seeks to determine whether or not
                            the abnormal return was merely the result of chance or not,
                            correct?

                            A.     Sure. I mean, I can live with this wording, too, yes. These
                            guys know what they are doing.

                            Q.       Now a statistically insignificant abnormal return does not
                            reject the null hypothesis, correct?

                            A.         That’s correct, yes.
108
      Tabak and Dunbar (2001), page 19-3, Bodie et al., page 354.
109
      Tabak and Dunbar (2001), page 19-3, Bodie et al., page 354.
110
      Hallman Dep., 195:3 – 196.12.
111
      Hallman Dep., 56: 16 - 57: 15.



                                                         27
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76.       Properly interpreted, the results of Dr. Hallman’s own event study analysis show that
          Freddie Mac’s stock price did not react (positively or negatively) to the identified news
          on four of the six Analyzed Dates, out of a total of 330 trading days in the Proposed Class
          Period. Thus, Dr. Hallman’s own event study analysis does not even suggest, let alone
          demonstrate, that a cause and effect relationship existed between Freddie Mac’s stock
          price movements and the news on four of the six days he chose to analyze, because the
          price reaction of Freddie Mac’s stock on those dates was not statistically significant.

          Flaw 3: Dr. Hallman’s one-tailed test of statistical significance is a biased and
                  inappropriate standard.
77.       As I noted earlier, in testing market efficiency, the appropriate test is the two-tailed test.
          That is because the null hypothesis of a market efficiency study is that there is no cause
          and effect relationship between material information and stock price reaction, and under
          this null hypothesis, one should not presume that the stock price will change in a
          particular direction while testing for the existence of the cause and effect relationship.112

78.       Dr. Hallman’s one-tailed test is biased as it is more likely to find evidence that Freddie
          Mac stock traded in an efficient market. Dr. Hallman’s one-tailed test considers the
          abnormal return changes only in (what he views, reasonably or not, as) the right
          direction, and ignores its changes in the “wrong”direction.113

79.       Dr. Hallman’s test is more likely to find statistical significance compared to a two-tailed
          test because the p-values under a one-tailed test are half of the p-values under a two-
          tailed test. Therefore, one-tailed p-value results can sometimes indicate statistical
          significance (i.e., can be below 5%) at the 95% confidence level while a two-tailed test
          would not find the exact same abnormal return to be statistically significant. Noting that
          “[m]any investigators find it tempting to use a one-tailed probability level to facilitate
          obtaining ‘significant’ results,” a statistics text book recommends that investigators “use


112
      Hallman Dep., 98: 9 - 18; 100: 7 - 16.
113
      Friedman, Herbert (1972), “Introduction to Statistics,” Random House, page 146. (“A major problem with the
      use of one-tailed [p-]values is [that] … outcomes in the opposite (nonpredicted) [sic] direction should be
      ignored.”)



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          two-tailed [p-]values” in “virtually all situations.”114 The Institute for Digital Research
          and Education at UCLA cautions: “Choosing a one-tailed test for the sole purpose of
          attaining significance is not appropriate. Choosing a one-tailed test after running a two-
          tailed test that failed to reject the null hypothesis is not appropriate, no matter how ‘close’
          to significant the two-tailed test was. Using statistical tests inappropriately can lead to
          invalid results that are not replicable and highly questionable.”115

80.       In the only other case in which he has provided an expert opinion on market efficiency,116
          Dr. Hallman has used the two-tailed test and a 5% level of confidence as the appropriate
          approach, a statistical significance level that is four times lower than the level he used
          here.117 In the Hallman ArthroCare Report, he conducted an event study where he used
          p-value tests to calculate the statistical significance of abnormal returns, and he used that
          study to support his opinion that the market for the securities at issue there was an
          efficient market.         There, he stated that “[s]tatistical significance is most typically
          defined as a [two-tailed] p-value less than or equal to 0.05 (5%), but is sometimes
          extended to include p-values less than or equal to 0.10 (10%),” which is the equivalent of
          one-tail p-values of 5%.118 In applying the two-tailed p-value, he used 5% as the cutoff
          for statistical significance.119 He also noted that two of the p-values he found in that case
          — 0.1416 (i.e., 14%) and 0.2096 (i.e., 21%) — were “not statistically significant.”120

81.       In the Hallman TyCom Report, Dr. Hallman also set forth the results of an event study
          drawing conclusions using a 5% cutoff for statistical significance. In that event study, he
          tested five news events that, he opined, “cause[d] statistically significant negative returns




114
      Friedman, Herbert (1972), “Introduction to Statistics,” Random House, page 146-47.
115
      http://www.ats.ucla.edu/stat/mult_pkg/faq/general/tail_tests.htm, downloaded December 10, 2012.
116
      Hallman Dep., 10:13-20.
117
      Hallman Dep., 166: 12 - 21.
118
      Hallman ArthroCare Report, ¶58.
119
      Hallman 122: 9 - 12; 124: 25 - 125: 6.
120
      Hallman ArthroCare Report, ¶60.



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          on TyCom stock,” because they “all have a p-value of .05 or lower.”121 That is, there
          too, he used as a threshold for statistical significance a p-value of 5%.122

82.       At deposition, Dr. Hallman testified he could not identify a single authority justifying the
          use of a one-tailed p-value test when testing to determine whether or not a market is
          efficient as he has done in this case.123 He also testified that using a two-tailed test to
          assess market efficiency is “illogical”.124 Yet, as set forth above, he used a two-tailed test
          to assess market efficiency in the Hallman ArthroCare Report, and he believed that the
          methodology he employed there was not illogical but, rather, scientifically correct in
          supporting his conclusions.125 Dr. Hallman admitted at his deposition that in this case he
          used a one-tailed test (which assigns an expected direction of the stock’s price reaction126
          given his subjective assessment of the news that day) and thus was testing a null
          hypothesis which was “slipperier, not slipperier, gooier”127 than the one economists
          actually use to test market efficiency through event studies. In short, Dr. Hallman’s
          testimony on this point was inconsistent.

83.       Notably, even using the one-tailed test, Dr. Hallman still fails to identify sufficient
          statistically significant reactions to news to support his conclusion regarding market
          efficiency.

          Flaw 4: Dr. Hallman’s conclusion that the stock price “reacted” in the “logical
                  direction” on dates with statistically insignificant abnormal returns is
                  based on a subjective and unscientific news review.
84.       Despite the fact that his own event study demonstrates that Freddie Mac’s stock price
          movements on four of the six Analyzed Dates were not statistically significant, Dr.
          Hallman concludes that Freddie Mac’s stock price reactions on three of these dates were

121
      Hallman TyCom Report, page 15.
122
      Hallman Dep., 140: 11 - 141: 3.
123
      Hallman Dep., 115: 8 - 18.
124
      Hallman Dep., 100: 12 - 23; 110: 24 - 111: 21.
125
      Hallman Dep., 113: 7 - 12; 116: 19 - 23; 121: 6 - 11.
126
      Hallman Dep., 101:13.
127
      Hallman Dep., 101:11.



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          “timely and logical.”128 He concludes that the “muted stock price reaction” on the fourth
          date was “logical” and “consistent with the idea that the market did not believe that
          Freddie Mac had significant subprime credit exposure.”129

85.       Drawing conclusions about the “direction” of price reactions that are not statistically
          significant is incorrect from economic and statistical perspectives. Dr. Hallman admitted
          at deposition that the direction of an abnormal return that is not statistically significant
          was meaningless from a statistical perspective.130 He also admitted that he could not cite
          a single authority in the economics literature that supports assigning a “logical” direction
          to statistically insignificant results.131 Yet Dr. Hallman commits such an error repeatedly
          in his analysis.

86.       As set forth above, there is no economic or statistical basis for assigning a “direction” to
          a statistically insignificant price movement.        Nevertheless, having first incorrectly
          assigned a “direction” to Freddie Mac’s statistically insignificant abnormal return on four
          of the six Analyzed Dates, Dr. Hallman claims that the “direction” of Freddie Mac’s price
          change was “logical” in each case. Dr. Hallman attempts to support his claim by
          selectively citing news reports and analysts’ commentary that supports his conclusion and
          ignoring similar evidence that is inconsistent with his conclusion. Dr. Hallman’s ex post
          selection of news is neither “logical” nor scientifically valid.132

87.       To begin, Dr. Hallman’s conclusions lack the necessary methodological rigor demanded
          by an event study. His methodology cannot be replicated, and it is therefore unscientific
          and his conclusions are unreliable.      As Dr. Hallman testified in his deposition, the
          methodology he used to assign a direction to “news vs. expectations” in Table 1 of his
          report was based simply on his own subjective “call”133 regarding the news and analyst

128
      Hallman Report, ¶¶ 21, 22, and 24.
129
      Hallman Report, ¶23.
130
      Hallman Dep., 191: 18 - 192: 10.
131
      Hallman Dep., 192: 22 - 193: 12.
132
      Hallman Report, ¶¶ 21-24.
133
      Hallman Dep., 144: 13.



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          commentary on the selected dates and not on “any specific statistical or economic or
          financial or legal standard.” 134              In fact, the arbitrary nature of Dr. Hallman’s
          characterization of news on a particular date (and his conclusions) is evident from his
          deposition testimony in which he changes his characterization of news on a particular
          date, but such a change has no impact on his conclusion. Dr. Hallman testified at
          deposition that he “might have characterized” the news and analyst commentary on June
          14, 2007 (one of his six Analyzed Dates) as “weakly negative” instead of “negative”
          because his re-reading of analyst commentary indicated that there “wasn’t a ton of new or
          revelatory information” that day. 135 Despite his admission, he claims that Freddie Mac’s
          price reaction that day (despite the absence of new information) supports his conclusion
          that the stock reacted to news. Such a conclusion makes no sense from an economics
          perspective.

88.       Further, Dr. Hallman ignores evidence that is contrary to his desired result (as I explain in
          Appendix 5) on each of these four Analyzed Dates, effectively tailoring his methodology
          to reach any desired conclusion. Dr. Hallman admitted in his deposition that making a
          “call” to characterize the news on some of the Analyzed Dates “were more difficult than
          others because … some reports might say in line and some reports might say I don’t like
          it and some reports might say it is fine.” 136

89.       Dr. Hallman’s conclusions are merely instances of the post hoc fallacy.137 That is,
          merely because Dr. Hallman found some positive (or negative) news ex post on certain
          days when Freddie Mac’s abnormal returns were positive (or negative), it is a fallacy to
          conclude the stock’s price change was caused by the identified news, as Dr. Hallman
          asserts.



134
      Hallman Dep., 143: 22 – 144: 3.
135
      Hallman Dep., 40:8-20.
136
      Hallman Dep., 144: 3-10.
137
      The Latin term for the fallacy is post hoc, ergo propter hoc (“After this, therefore because of this”) and refers to
      the incorrect conclusion that if an event of kind A is followed in time by an event of kind B, then A must have
      caused B.



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90.       If I were to ignore the news and commentary that Dr. Hallman selectively identifies and
          instead proffer only news items and analyst commentary of the opposite sort (i.e.,
          positive rather than negative, or vice versa) which were also present on the dates Dr.
          Hallman has selectively analyzed, I could equally well assert that Freddie Mac’s
          abnormal returns on these dates were not in the logical directions.

91.       Two examples serve to illustrate how Dr. Hallman’s approach is subject to error or
          manipulation. In discussing news on October 3, 2006, Dr. Hallman claims that the news
          on that date was positive, partially quoting, among other things, a Prudential Equity
          analyst report, but ignoring the negative aspects of that same report. Even the title of the
          report highlighted the fact that Freddie Mac’s higher than expected GAAP earnings138 for
          the first half of 2006 were due to higher interest rates that had “since reversed.”139
          Consequently, analysts expected Freddie Mac’s future earnings to deteriorate due to
          declining (and publicly observable) interest rates over that period (which ultimately did
          decline).140 For this reason, and others, the Prudential Equity analysts’ target for Freddie
          Mac stock’s price was “below the historical average.”141 With regard to October 3, 2006,
          Dr. Hallman makes no mention of this negative information.

92.       Yet, in discussing January 5, 2007, Dr. Hallman claims that nearly identical negative
          analyst commentary (about Freddie Mac’s expected future losses in the fourth quarter of
          2006 due to declining interest rates) constitutes “unexpected negative news” that
          “logically” explains Freddie Mac stock’s -1% abnormal return on January 5, 2007.142

93.       Likewise, Dr. Hallman selectively relies upon analysts’ claims that the results were
          consistent with expectations. For example, he opts not to assign a “direction” to Freddie

138
      GAAP refers to Generally Accepted Accounting Principles. Freddie Mac’s earnings were prepared according
      to GAAP. [Freddie Mac 2005 Annual Report, page 98].
139
      “FRE: 1H06 Earnings -- GAAP Earnings Surpass Our Expectations Due To Higher Rates In 2q (since
      Reversed); Stable Outlook on Credit and Interest Rate Risks,” Prudential Equity Group LLC, October 3, 2006.
140
      “FRE: 1H06 Earnings -- GAAP Earnings Surpass Our Expectations Due To Higher Rates In 2q (since
      Reversed); Stable Outlook on Credit and Interest Rate Risks,” Prudential Equity Group LLC, October 3, 2006.
141
      “FRE: 1H06 Earnings -- GAAP Earnings Surpass Our Expectations Due To Higher Rates In 2q (since
      Reversed); Stable Outlook on Credit and Interest Rate Risks,” Prudential Equity Group LLC, October 3, 2006.
142
      Hallman Report, ¶¶ 20 and 22.



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          Mac’s positive (but not statistically significant) abnormal return on March 23, 2007,
          claiming it was “in line with expectations.”143           By contrast, he assigns a negative
          direction to the negative (but not statistically significant) abnormal return on January 5,
          2007, when the very New York Times article he cites notes that Freddie Mac’s third
          quarter loss was “in line with analysts’ expectations.”144 Dr. Hallman never explains why
          he draws these inconsistent conclusions, but notably his choices happen to support the
          result that favors Plaintiff.

94.       As I explain in Appendix 5, Dr. Hallman ignores inconsistent analyst commentary with
          respect to each of the four Analyzed Dates on which abnormal returns were not
          statistically significant. As I noted above, Dr. Hallman’s methodology is unscientific, as
          it cannot be replicated, and therefore his conclusions are unreliable.

          Flaw 5: Dr. Hallman’s tests of joint statistical significance are flawed, and they fail
                  to demonstrate a cause and effect relationship between unexpected news
                  and Freddie Mac’s stock price.
95.       Conceding that he has failed to demonstrate that Freddie Mac’s abnormal returns were
          statistically significant on four of his six Analyzed Dates on an individual basis, Dr.
          Hallman nevertheless asserts in his deposition that the results of his joint statistical
          significance tests (F-test and Chi-squared tests) support the conclusion that a cause and
          effect relationship existed between news and Freddie Mac’s stock price.145 Dr. Hallman
          claims that his joint significance tests demonstrate that Freddie Mac’s abnormal returns,
          even though individually not significant on four of the six Analyzed Dates, were still
          somehow significant as a group.146 However, as I discuss below, Dr. Hallman uses a
          flawed methodology to conduct these tests that are designed to reach the desired
          conclusion.



143
      Hallman Report, ¶23.
144
      “Today In Business Freddie Mac Forecasts Losses,” The New York Times, January 6, 2007. [Cited in Hallman
      Report, ¶ 22].
145
      Hallman Dep., 152: 12 - 25.
146
      Hallman Report, ¶28.



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96.       As an initial matter, Dr. Hallman does not cite in his report any authority that supports
          conducting joint significance tests on unrelated events in a market efficiency event study.
          At deposition, he was unable to identify any authority that supports such an approach.147

97.       Dr. Hallman also acknowledges that he had never run joint significance tests before, and
          was apparently unaware of them until a colleague [“who “knows a lot more
          econometrics”148] suggested joint significance tests149 given that Dr. Hallman’s event
          study had found Freddie Mac’s abnormal returns to be statistically insignificant on 4 of
          the Analyzed Dates on an individual basis.           Thus, in Dr. Hallman’s opinion joint
          significance tests are a way to “see if there is anything here”150 i.e., a means to detect
          statistical significance in a group of dates if one initially finds that the stock’s abnormal
          return was not statistically significant on individual dates.

98.        I have confirmed that by cherry-picking the dates he has included in his joint
          significance tests, Dr. Hallman has designed his tests to reach his desired conclusion.

99.       According to Dr. Hallman’s event study, Freddie Mac’s abnormal returns were not
          statistically significant on an individual basis on the first four of the six Analyzed Dates
          (October 3, 2006, January 5, 2007, March 23, 2007 and June 14, 2007).151 Yet, Dr.
          Hallman fails to conduct a joint significance test for this group of dates.               In his
          deposition, Dr. Hallman testified that he cannot think of a single test of joint significance
          that could show that the first four events on table one were allegedly jointly statistically
          significant:152

                            Q. If you were testing solely to determine if a semi strong efficient
                            market existed between the first day of the class period which is
                            August 1, 2006, and August 29, 2007, what joint significant test

147
      Hallman Dep., 241: 19 - 25; 245: 11 - 246: 9.
148
      Hallman Dep., 231: 18.
149
      Hallman Dep., 230: 6 - 231: 22.
150
      Hallman Dep., 232: 24.
151
      Hallman Report, Table 1.
152
      Hallman Dep., 248: 21 – 249: 15.



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                           could you have run in order to try to show that the first four events
                           on table one were allegedly jointly statistically significant?

                           A. I don’t know.

                           Q. Is there any test you can think of that you can possibly run that
                           would show that those first four statistically insignificant dates
                           jointly, under some test ---

                           A. Shhh.

                           Q. -- will come out at as statistically significant combined?

                           A. I just said --you just asked me that, and I just said I don’t know.
                           I can’t.

100.      I have confirmed using Dr. Hallman’s own joint significance (F- and Chi-squared) tests
          that Freddie Mac’s abnormal returns are never jointly significant across the first four
          Analyzed Dates or any subset of them (i.e., any two or any three of these four days). I
          report these results in Appendix 6, Panel A.153

101.      In addition, I have confirmed using Dr. Hallman’s joint significance (F- and Chi-squared)
          tests that his joint significance conclusion critically hinges on his inclusion of August 30,
          2007 (a date when Freddie Mac’s abnormal return was statistically significant and
          negative) in his sample of dates. I found that if August 30, 2007 is added to (i) the group
          of the first four Analyzed Dates or (ii) any sub-group of the first four Analyzed Dates,
          Freddie Mac’s abnormal returns are jointly significant in each and every one of these
          groups.

102.      The following empirical analysis also confirms that Dr. Hallman’s joint test result hinges
          critically on his inclusion of August 30, 2007. There are 272 trading days from the start
          of the Proposed Class Period through August 29, 2007. Combining any three days from
          this sample yields a total of 3.32 million unique three-day combinations. I ran F-tests for
          each of these 3.32 million combinations and found Freddie Mac’s abnormal returns on
          only 3% of them (100,838 combinations) to be jointly statistically significant. However,

153
      I have used Dr. Hallman’s F-test and Chi-squared test as implemented in exhibit 21 and 22 of his deposition
      transcript. [Hallman Dep., 207:19 - 208: 17] I report these results in Appendix 6, Panel A.



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          when I added August 30, 2007 to these 3.32 million combinations and re-ran the F-tests, I
          found that found Freddie Mac’s abnormal returns were jointly significant in 100% of
          these combinations.

103.      Freddie Mac’s abnormal returns on October 3, 2006, January 5, 2007, June 14, 2007 and
          August 30, 2007 are jointly statistically significant simply because August 30, 2007 is
          included in Dr. Hallman’s joint statistical significance tests. Even if one were to assume
          that Freddie Mac’s abnormal returns (and corresponding t-statistics) on October 3, 2006,
          January 5, 2007, and June 14, 2007 were zero (i.e., by construction, there was no cause
          and effect relationship on these dates), the test’s conclusion would remain unaffected
          [See Appendix 6, Panel C]. That is, even if a cause and effect relationship on the first
          three dates is assumed to be non-existent, Freddie Mac’s abnormal returns remain jointly
          statistically significant across these dates if August 30, 2007 is included in the test. Thus,
          Dr. Hallman’s joint statistical significance tests do not establish that Freddie Mac stock
          traded in an efficient market.

104.      Also, even though March 23, 2007 was one of the six dates, which Dr. Hallman selected
          to analyze the cause and effect relationship, he ignores this date in his joint significance
          tests. Freddie Mac’s abnormal return on March 23, 2007 was not only statistically
          insignificant, but also had the highest p-value.

105.      In short, by always excluding the date when Freddie Mac’s abnormal return was
          statistically insignificant with the highest p-value (March 23, 2007) and always including
          August 30, 2007 and/or November 20, 2007 (both dates when Freddie Mac’s abnormal
          return was statistically significant with the lowest p-values) Dr. Hallman has ensured that
          his joint testing will yield significant results.154




154
      Dr. Hallman claimed in his report that the results of his initial F-test (which considered the following five dates:
      October 3, 2006, January 5, June 14, August 30 and November 20, 2007) would remain unaffected had he
      excluded the “large negative return on the final event date, 11/20/07.” [Hallman Report, ¶28]. Thus, Dr.
      Hallman tacitly acknowledges that including Freddie Mac’s exceptionally large negative abnormal return on
      November 20, 2007, skews his joint test significance results.
                                                                                                           … continued

                                                            37
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106.      Dr. Hallman’s joint significance tests are also flawed because they include dates on
          which Freddie Mac’s abnormal returns were in opposite directions, purportedly reacting
          to different types of news according to Dr. Hallman’s own subjective assessment of such
          news.155 It is illogical to include in the same joint testing group the abnormal return of a
          date when the expected price impact is positive with the abnormal return from another
          date when the expected price impact is negative. That is because one cannot determine
          ex ante the expected direction of the total price impact across all events being analyzed.
          Thus, as a matter of economic logic, results of joint significance tests based on a “mixed”
          group, such as the one Dr. Hallman uses, cannot prove that Freddie Mac’s stock price
          reacted significantly and in the logical direction. At deposition, Dr. Hallman was unable
          to cite any authority to support combining in one joint significance test abnormal returns
          that are both positive and negative.156

107.      To avoid combining positive and negative abnormal return dates in the same test, I tested
          whether the sum of Freddie Mac’s abnormal returns was jointly significant (i) for 10/3/06
          and 3/23/07, when the expected price impacts were positive or inline according to Dr.
          Hallman,157 and (ii) for 1/5/07 and 6/14/07 when the expected price impacts were
          negative, according to Dr. Hallman.158 My F-test results confirm that the sum of the
          abnormal returns was not statistically significant for either group.159

108.      Dr. Hallman’s joint significance tests are flawed for yet another reason, as they test un-
          related events that are separated by many months. Dr. Hallman testified in his deposition
          that the information released on the various quarterly earnings announcement dates were



      Nevertheless, my review of Dr. Hallman’s joint test analyses [Hallman Dep., Exhibit 21] indicates that his
      reported results are based on F-tests of various subgroups of Analyzed Dates that always include Freddie Mac’s
      statistically significant negative abnormal returns on both November 20 and August 30, 2007.
155
      Hallman Dep., 143: 22 – 144: 18.
156
      Hallman Dep., 217: 24 – 218: 4.
157
      I include 3/23/2007 in the group of days when news that Dr. Hallman identifies is expected to have a positive
      impact on Freddie Mac’s stock price because Freddie Mac’s abnormal return was positive that day.
158
      Hallman Report, Table 1.
159
      Appendix 6, Panel D.



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          “not related,”160 as they pertained to the Company’s financial performance over different
          quarters. However, he nevertheless chose to combine such dates to tests for a cause and
          effect relationship between news and the Freddie Mac’s stock price.           It makes no
          economic sense to test the joint significance of unrelated events that are over a year apart
          (when November 20, 2007 is included in the joint significance test). At deposition, Dr.
          Hallman was unable to cite any authority that “permits you to combine unrelated events
          from totally different periods into one combined F test or Chi-squared test in examining
          market efficiency.”161 Nevertheless, taken at face value, Dr. Hallman’s joint significance
          test result means that “positive” news released as early as October 3, 2006 was not fully
          incorporated until either August 30, 2007 (a 10 month window) or November 20, 2007 (a
          window of more than a year), and the ultimate combined reaction was negative. Such a
          delayed reaction in the opposite direction does not support the finding that Freddie Mac’s
          stock traded in an efficient market as Dr. Hallman asserts.

109.      In sum, the empirical evidence – based on the statistical significance of Freddie Mac’s
          abnormal returns whether considered in isolation or jointly – does not support Dr.
          Hallman’s claim that Freddie Mac’s stock traded in a semi-strong form efficient market.

          Flaw 6: Dr. Hallman fails to control for the impact of industry effects and
                  heightened volatility during the credit crisis, which renders invalid his
                  conclusion that Freddie Mac’s abnormal return on August 30, 2007 was
                  statistically significant.
110.      Properly constructed event studies should control for: (a) market effects; (b) industry
          effects; and (c) changing volatility. Dr. Hallman’s event study controls only for market
          effects.   Therefore, it yields results that are improperly skewed in favor of finding
          statistically significant abnormal returns.

111.      In conducting an event study to analyze stock price changes in response to identified
          events, economists use models that control for the effects of events that are market-wide
          (such as changes in economic growth rates) as well as events that are relevant to that


160
      Hallman Dep., 236: 16 – 240: 10.
161
      Hallman Dep., 240: 17 - 25.



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          firm’s particular industry (such as changes in laws or regulations pertinent to the
          industry). Even the studies that Dr. Hallman cites recognize this fact.162

112.      Indeed, in the Hallman ArthroCare Report, Dr. Hallman’s event study controlled for
          industry impact, unlike his study here.163

113.      Economists also use models that control for changing volatility of the stock’s returns in
          particular periods.164 The statistical significance of the abnormal return is determined
          using a yardstick called the “standard error.”165 In selecting that yardstick in an event
          study, one must account for general market volatility. Under normal circumstances, when
          the market volatility remains more or less constant, it is appropriate to use the standard
          regression model with no adjustment for changing volatility. But a sudden change in the
          volatility, however, can affect the standard error in a meaningful way. A simple example
          may illustrate this point better. If most of the waves in a placid lake are less than one foot
          in height, then a two-foot wave may be considered huge, relative to the one-foot waves.
          However, in a stormy ocean where most waves are 4 feet or higher, the use of the same
          yardstick of one-foot will lead to the mistaken conclusion that almost all waves are
          abnormally large, when they are not. One needs to adopt a different yardstick in such a
          case. Similarly, to properly isolate the impact of unexpected corporate news on a stock
          price when the volatility in the market has suddenly increased, one must adjust the
          yardstick – replace the placid-lake yardstick with the stormy-ocean yardstick– to account
          for that heightened market-wide volatility.




162
      Tabak and Dunbar (2001), page 19-5.
163
      Hallman ArthroCare Report (Appendix 3). Hallman Dep., 286: 14 - 22; 287: 9 - 12.
164
      Greene, William H. (2011), Econometric Analysis, 7th edition, NJ: Prentice Hall, Chapter 9, page 22, and 279.
      Also see: [1] Below, Scott D. and Keith H. Johnson (1996), “An Analysis Of Shareholder Reaction To
      Dividend Announcements In Bull And Bear Markets,” Journal of Financial And Strategic Decisions, vol. 9(3),
      pages 15 -26; [2] Bommel, J. van, and T. Vermaelen (2003), “Post-IPO capital expenditures and market
      feedback,” Journal of Banking & Finance, vol. 27, pages 275–305; [3] Henry, Peter Blair (2002), “Is
      Disinflation Good for the Stock Market?,” The Journal of Finance, vol. 57(4), pages 1617-1648; [4] Arslanalp,
      Serkan and Peter Blair Henry (2005), “Is Debt Relief Efficient?,” The Journal of Finance, vol. 60(2), pages
      1017-1051.
165
      Mitchell and Netter (1994), page 569.



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114.      While it is true that Dr. Hallman’s model controls for the impact of market effects by
          predicting returns based on the S&P 500 Index,166 his model is deficient in other respects.

115.      Dr. Hallman’s model fails to control for the impact of industry-wide events or the
          heightened market-wide volatility during the later part of the Proposed Class Period. As I
          discuss in detail in Appendix 7, during the August – November 2007 period, several
          industry (or Government Sponsored Enterprises (“GSE”)-specific) developments
          occurred, which Dr. Hallman’s model fails to address.

116.      Dr. Hallman has also admitted that the control period on which his market model was
          based does not include the global credit crisis and does not control for the increase in
          market volatility during the Proposed Class Period as a result of the crisis.167

117.      As discussed above, Dr. Hallman’s event study yields statistically significant results for
          only two of the six Analyzed Dates.                 Even his event study results for those two
          statistically significant dates, however, are unreliable, as they occurred during the global
          credit crisis, which Dr. Hallman ignores. As I explain below (in ¶139), when one controls
          for industry effects and volatility, Freddie Mac’s abnormal return for August 30, 2007 is
          not statistically significant using the two-tailed test and conventional 5% significance
          level. Thus, even according to Dr. Hallman’s model corrected for certain flaws, Freddie
          Mac’s stock reacted to news on only one day in the entire 330-day Class Period.

118.      On Thursday, August 9, 2007, the global credit markets became ensnared in the throes of
          a severe and unforeseen credit crisis. Early that morning, the investment banking unit of
          France’s largest bank, BNP Paribas, announced that it had frozen redemptions for three
          investment funds with over 2 billion Euros in assets, and that “[t]he complete evaporation
          of liquidity in certain market segments of the US securitization market has made it

166
      I replicated Dr. Hallman’s model as described in Hallman Report, ¶19. Per my replication, Freddie Mac’s
      abnormal return for a day equals the percentage change in Freddie Mac’s stock price (Freddie Mac’s “arithmetic
      return” or “return”) less Freddie Mac’s predicted return based on the percentage change in S&P 500 Index (the
      “Index return”) that day. To calculate Freddie Mac’s predicted return, Dr. Hallman estimates the historical
      relationship between Freddie Mac’s return and the Index return over the period from August 1, 2005 to July 31,
      2006, one year prior to the start of the Proposed Class Period. [Hallman Report, ¶19].
167
      Hallman Dep., 273: 19 - 25.



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          impossible to value certain assets fairly regardless of their quality or credit rating.”168
          BNP Paribas’ comments ignited “fears of a credit crunch.”169 A few days later, Northern
          Rock, the British lender, was rescued from collapse by the Bank of England. Looking
          back, Adam Applegarth, then chief executive of Northern Rock, said that August 9, 2007
          “is the day the world changed.”170

119.      As Chairman Bernanke noted, at that time “[c]oncerns about liquidity and credit risk
          surfaced even in markets in which securitization plays a much smaller role.”171 This
          contagion led to the sudden increase in various risk-related spreads between key interest
          rates. For instance, as shown in Figure 1, the TED spread (which measures the difference
          between the risky LIBOR rate and the risk-free U.S. Treasury bill rate) widened
          dramatically, increasing from 55 basis points (bps)172 on August 8, 2007 to 242.5 bps, on
          August 20, 2007, a change of 340%.173 As Brunnermeier (2009) notes, the “TED spread
          widens in times of crises.”174




168
      BNP Paribas Press Release, “BNP Paribas Investment Partners temporarily suspends the calculation of the Net
      Asset Value of the following funds: Parvest Dynamic ABS, BNP Paribas ABS EURIBOR and BNP Paribas
      ABS EONIA,” August 9, 2007.
169
      Cooper, Amanda, “Europe shares fall as BNP Paribas spooks investors,” Reuters News, August 9, 2007.
170
      Cane, Jeffrey, “The Great Panic,” Portfolio.com, August 8, 2008.
171
      Bernanke, Ben, “The Recent Financial Turmoil and its Economic and Policy Consequences,” At the Economic
      Club of New York, New York, October 15, 2007.
172
      One percent equals 100 basis points.
173
      Source for LIBOR rate and the risk-free U.S. Treasury bill rate – Bloomberg.
174
      Brunnermeier, Markus K. (2009), “Deciphering the Liquidity and Credit Crunch 2007-08,” Journal of
      Economic Perspectives, 23(1), pages 77-100, page 85.



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Figure 1: Market Signals of a Liquidity Crunch and Growing Credit Risk




120.     On August 24, 2007, the Fed attempted to inject further liquidity into the market by
         expanding the scope of the collateral it accepted for such loans to include “investment
         quality asset-backed commercial paper.”175

121.     In September of 2007, the credit crisis escalated and both U.S. and international
         institutions took steps to alleviate the impact of the financial crisis. On September 6,
         2007, Reuters News reported that Federal Reserve and the European Central Bank
         “injected liquidity into the banking systems” to “calm rising short-term rates amid
         lingering fears that the subprime housing crisis has morphed into a global credit




175
      Torres, Craig and Mark Pittman, “New York Fed Accepts Asset-Backed Paper as Collateral (Update3),”
      Bloomberg, August 24, 2007.



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          crunch.”176 On September 14, Northern Rock, one of England’s largest retail mortgage
          lenders agreed with the Bank of England to “raise liquidity as needed through either
          secured borrowings or repurchase facilities with the U.K central bank” to “fund its
          operations during the current period of turbulence in financial markets.”177

122.      As I discuss in Appendix 7, the impact of the credit crisis on GSEs was exacerbated by
          the concurrently worsening outlook of the U.S. housing markets. On September 18,
          2007, the Federal Reserve reduced its federal funds rate target (from 5.25 percent to 4.75
          percent) “for the first time in four years … to prevent a steep housing slump and turbulent
          financial markets from triggering a recession.”178

123.      As Figure 1 shows, the Federal Reserve’s intervention temporarily improved liquidity in
          the credit market in October 2007. On October 15, 2007, Federal Reserve Chairman Ben
          Bernanke noted that “[c]onditions in financial markets have shown some improvement
          since the worst of the storm in mid-August, but a full recovery of market functioning is
          likely to take time, and we may well see some setbacks.”179 Chairman Bernanke also
          noted that a “deepening housing slump probably will be a ‘significant drag’ on economic
          growth into next year and it will take time for Wall Street to fully recover from a painful
          credit crisis.”180 On October 22, 2007, the head of the International Monetary Fund
          expressed concerns about the ongoing credit crisis and noted that the “global economy
          faces a period of uncertainty, with risks to continued growth much higher than they were
          six months ago. … [F]urther disruption in financial markets and further falls in housing




176
      Aubin, Dena, “CREDIT WRAPUP 7-Fed, ECB inject liquidity as foreclosures rise,” Reuters News, September
      6, 2007.
177
      Teitelbaum, Henry, “5th UPDATE: Northern Rock Borrows From BoE; Shares Off 26%,” Dow Jones Capital
      Markets Report, September 14, 2007.
178
      Crutsinger, Martin, “Fed cuts key interest rate in effort to fend off recession,” Associated Press Newswires,
      September 18, 2007, 15:49.
179
      Aversa, Jeannine, “Bernanke: Housing Woes to Slow Growth,” Associated Press Newswires, October 15, 2007,
      19:56.
180
      Aversa, Jeannine, “Bernanke: Housing Woes to Slow Growth,” Associated Press Newswires, October 15, 2007,
      19:56.



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          prices could lead to a global economic downturn, making other risks -- rising food and oil
          prices, a falling dollar -- loom larger.”181

124.      On October 31, 2007, the Federal Reserve again took action to combat “the strains of a
          deepening housing slump” and lowered the federal funds rate a quarter of a percentage
          point.182 Nevertheless, the credit crisis continued to worsen. On November 5, 2007,
          Citigroup announced that it would have to “write off between $8 billion and $11 billion
          more to reflect the declining value of subprime-mortgage-related securities.”183 On
          November 13, 2007, Bank of America warned that they were “currently estimating a $3
          billion pre-tax charge to be taken in the fourth quarter to mark down collateralized debt
          obligations.”184 As Figure 1 shows, the TED spread, which had declined in October 2007,
          started to increase again in November 2007 and the GSEs’ cost of debt financing for their
          operations increased.185 On November 19, 2007, the cost of raising debt for the two
          GSEs relative to treasury bonds rose to its highest level in a decade, only to be exceeded
          again the very next day, i.e., on November 20, 2007, the last day of the Proposed Class
          Period.186

125.      Market turmoil continued into 2008 and, on July 15, 2008, the U.S. Securities and
          Exchange Commission (“SEC”) publicly announced that “the normal price discovery

181
      Dunphy, Harry, “IMF chief says outlook for global economy uncertain after recent market turbulence,”
      Associated Press Newswires, October 22, 2007, 15:14.
182
      Aversa, Jeannine, “Federal Reserve cuts interest rate to help ease strain of housing slump on US economy,”
      Associated Press Newswire, October 31, 2007, 21:12.
183
      “AT A GLANCE: Prince Exits Citi Amid $8B-$11B In New Writedown,” Dow Jones International News,
      November 5, 2007.
184
      Spence, John, “2ND UPDATE: Bank Of America Warns Of Additional CDO Losses,” Dow Jones Business
      Week, November 13, 2007.
185
      “Investor nervousness over mortgages has raised the cost of borrowing for Fannie and Freddie Mac, said Jim
      Vogel, an analyst at FTN Financial Capital Markets, Memphis, Tenn. Friday, their five-year debt was quoted at
      a yield about 0.65 percentage point above the equivalent U.S. Treasury issue, up from 0.40 percentage point
      three months ago, Mr. Vogel said.” [Hagerty, James R., “Defaults Take a Toll on Fannie Mae,” The Wall Street
      Journal, November 10, 2007].
186
      “Yield premiums on some U.S. agency debentures have gapped out to or near their widest in a decade,
      reflecting interest rate swaps and sharply lower Treasury yields in markets steeped in credit fears. … Two-year
      swap spreads are at their widest since 1989.” [Haviv, Julie, “MORTGAGES/AGENCIES-Spreads hit new
      wides; Freddie in focus,” Reuters News, November 19, 2007]; Also see Haviv, Julie, “UPDATE 2-
      MORTGAGES/AGENCIES-Agency 2-yr sector at 10-yr wide,” Reuters News, November 20, 2007.



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          process,” which is the hallmark of an efficient market, had not been functioning properly
          for Freddie Mac’s stock and that of several other major financial companies,187 and it
          banned “naked” short selling of Freddie Mac’s stock and that of 18 other financial
          companies. Again, on September 19, 2008, the SEC, acting in concert with the U.K.
          Financial Services Authority, “took temporary emergency action to prohibit short selling
          in [799] financial companies to protect the integrity and quality of the securities market
          and strengthen investor confidence” as such unprecedented market turmoil continued.188

126.      In view of the global credit crisis, which began on August 9, 2007 and resulted in both
          market-wide and Freddie Mac stock price volatility (see Figure 2 Panel A), it does not
          surprise me that Dr. Hallman’s market model generates an unusually high level (34.2%)
          of abnormal returns from August 9, 2007 through the end of the Proposed Class Period,
          as I discuss below. This is because he makes no effort to control for such heightened
          volatility in any of his statistical procedures. In fact, Dr. Hallman makes no mention of
          the global credit crisis in his report.

127.      Dr. Hallman’s event study yields statistically significant abnormal returns for only two
          dates, both of which occurred during the global credit crisis that began on August 9,
          2007: August 30, 2007 and November 20, 2007. As Dr. Hallman’s market model is
          predisposed to identify statistically significant abnormal returns from August 9, 2007
          through November 20, 2007 (i.e., 34.2% of all dates during that period yield abnormal
          returns per his model), that model is unreliable as a tool to measure the impact of news on
          Freddie Mac’s stock price.         Accordingly, Dr. Hallman’s conclusions regarding the
          abnormal returns on August 30, 2007 and November 20, 2007 are unreliable.




187
      Securities and Exchange Commission, “Emergency Order Pursuant To Section 12(K)(2) Of The Securities
      Exchange Act Of 1934 Taking Temporary Action To Respond To Market Developments,” Securities Exchange
      Act Of 1934 Release No. 58166, July 15, 2008; henceforth “SEC July 15 2008 Order.”
188
      Securities and Exchange Commission, “SEC Halts Short Selling of Financial Stocks to Protect Investors and
      Markets,” September 19, 2008.



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          Flaw 7: Dr. Hallman’s reliance on his model’s “good overall fit” during the
                  Proposed Class Period lacks basis in the field of economics and makes no
                  sense given the actual “fit” of his model.
128.      As explained above, to conduct his event study, Dr. Hallman created a statistical market
          model over an estimation period.          According to Dr. Hallman, his statistical model
          exhibited “good overall fit measures with a statistically significant F-statistic” over his
          estimation period, which “supports a finding that the market for Freddie Mac common
          stock was (semi-strong form) efficient.”189 Similarly, he asserts that “[a] model estimated
          over the class period is similarly statistically significant, supporting the finding that the
          market for Freddie Mac common stock efficiently processed news into returns and was
          (semi-strong form) efficient during the class period.”190

129.      Dr. Hallman does not identify any benchmarks that would allow another researcher to
          distinguish a model that has a “good fit” and one that has a “bad fit.” So far as I am
          aware, there is no such benchmark.           An undergraduate text book on econometrics
          notes:191

                             Goodness of fit is relative to the topic being studied. … [T]here is
                             no simple method of determining how high R2 [a common
                             measure of goodness of fit] must be for the fit to be considered
                             satisfactory

130.      Further, Dr. Hallman fails to identify any academic literature to support his claim that the
          supposed “fit” of his model supports a finding of market efficiency. At deposition, Dr.
          Hallman testified that he was not aware of any source of authority to support a conclusion
          that the market for a stock was efficient based on the “fit” of a market model.192 The
          academic literature does not support his claim and provides no benchmarks to assess
          market efficiency based on the goodness of fit of the event study model.



189
      Hallman Report, ¶19.
190
      Hallman Report, ¶19.
191
      A.H. Studenmund, “Using Econometrics A Practical Guide”, Fourth Edition, Addison-Wesley Longman, page
      49.
192
      Hallman Dep., 267: 13 - 22.



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131.      Dr. Hallman does not use the Proposed Class Period as estimation period of the market
          model that he uses to conduct his event study. Instead, his market model’s estimation
          period spans one year prior to the start of the Proposed Class Period (the “control
          period”). Again without providing any results, Dr. Hallman claims that this estimated
          statistical model has a “good overall fit” over the control period and therefore “supports a
          finding that the market for Freddie Mac common stock was (semi-strong form) efficient
          … during the control period.”193              This claim too is without any basis in academic
          literature. It is also irrelevant, as a matter of logic, to an assessment of the efficiency of
          the market for Freddie Mac’s common stock during the Proposed Class Period.

132.      Contrary to Dr. Hallman’s claim of good overall fit, my empirical analysis demonstrates
          that his model does not fit the data over the Proposed Class Period. As Figure 2 Panel A
          below demonstrates, volatility in the over-all equity market, measured by the VIX
          volatility index,194 rose dramatically in August 2007. Freddie Mac’s implied volatility195
          also rose in August 2007. The VIX average over Dr. Hallman’s control period was
          13.24%, and it was 13.14% over the Class Period through August 8, 2007. Thereafter,
          the VIX average rose significantly. It was 72% higher from August 9, 2007 through the
          end of the Proposed Class Period than it was during Dr. Hallman’s control period.




193
      Hallman Report, ¶19.
194
      VIX is the ticker symbol for the Chicago Board Options Exchange Volatility Index. The index is a “30-day
      measure of the expected volatility of the S&P 500 Index” and is a “key measure of market expectations of near-
      term volatility.” [www.cboe.com/micro/VIX/vixintro.aspx, accessed 10/31/12.]
195
      Implied volatility is the future volatility estimate for Freddie Mac stock. The implied volatility that I report for
      Freddie Mac stock is computed by OptionMetrics, a well-known provider of such data, through prices of 30-day
      call options traded on the Company’s stock.



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Figure 2 Panel A: Market-Wide Volatility and Freddie Mac Implied Volatility Rose
Dramatically Following the Sudden Eruption of the Global Financial Crisis in August
2007196




133.      Figure 2 Panel B demonstrates that, starting in August 2007, the difference between the
          actual and predicted Freddie Mac stock returns (i.e., the abnormal daily return) widened
          considerably. This pattern of deviation demonstrates that Dr. Hallman’s model performs
          poorly starting in August 2007, suggesting that it does not effectively factor out the effect
          of substantially increased volatility that began in August 2007. Dr. Hallman, however,
          still compares the abnormal return during this period to the volatility of Freddie Mac’s
          abnormal returns over his control period (i.e., August 1, 2005 to July 31, 2006) to identify
          statistically significant dates.     Consequently, Dr. Hallman’s model, when applied to
          Freddie Mac’s stock price on every single day of the Proposed Class Period from August


196
      Source: VIX Data is from Bloomberg. Implied Volatility for Freddie Mac stock is from OptionMetrics.



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          9, 2007 through November 20, 2007 (“Crisis Period”), results in abnormal returns that are
          statistically significant on 34.2% of the days remaining in the Proposed Class Period after
          August 8, 2007 (which is 73 trading days). In contrast, the same model identifies only
          3.5% of the days in the first part of the Proposed Class Period through August 8, 2007
          (which is 257 trading days) to be statistically significant. Such a divergence in the
          frequency of significant dates is clear evidence of a poor fit of Dr. Hallman’s model
          resulting from substantial difference in market-wide volatility between the two intervals.

Figure 2 Panel B: Dr. Hallman’s Market Model Identified Disproportionately Large
Number of Statistically Significant Abnormal Returns during the Volatile Part of the Class
Period197




134.      As I have noted earlier, an event study requires the computation of a stock’s abnormal
          return following an event. Such an abnormal return is defined as the stock’s actual return

197
      Source: Abnormal Return data is from my replication of Hallman’s event study model.



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          less its predicted return, which is based on the stock’s estimated relationship to a market
          index (and usually also an industry index). In conducting his event study, Dr. Hallman
          calculated Freddie Mac’s predicted return on each of the Analyzed Dates based on the
          stock’s estimated relationship to the market (S&P 500) index (or market beta) derived by
          running a regression model over the August 1, 2005 - July 31, 2006 period.198

135.      In other words, Dr. Hallman assumes in conducting his event study that Freddie Mac’s
          market beta over the Proposed Class Period remains unchanged from its value of 0.75
          estimated over the August 1, 2005 - July 31, 2006 period.199 Such an assumption is
          speculative and incorrect. Dr. Hallman’s regression model runs over periods with market
          betas far higher than 0.75:

              a. August 1, 2006 (the first day of the Proposed Class Period) through August 8,
                  2007 (the day before the credit crisis erupted) yields a market beta of 1.16, which
                  is nearly 60% higher than the beta of 0.75 that Dr. Hallman has used in his event
                  study.

              b. August 9, 2007 through November 20, 2007 yields an even higher beta of 1.72,
                  which is more than double the beta of 0.75 that Dr. Hallman has used in his event
                  study.

          Thus my empirical analysis confirms that the relationship between Freddie Mac stock’s
          return and the market index changed significantly over the latter part (after August 8,
          2007) of the Proposed Class Period.

136.      Further, Dr. Hallman does not take into consideration the heightened market-wide
          volatility and changes in industry conditions during the latter part (after August 8, 2007)
          of the Proposed Class Period that were particularly relevant to the GSEs.                The
          identification of too many dates with statistically significant abnormal returns in this later
          period arises from these two fundamental errors.

198
      Hallman Report, ¶19.
199
      “Summary Output-FMCC Market Model” in Hallman Dep., exhibit 23 “Statistical output from pre-period
      market-model.”



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137.      Failure to consider industry-wide events and the impact of heightened market-wide
          volatility renders Dr. Hallman’s event study model unreliable during the period starting
          August 9, 2007. Notably, Dr. Hallman’s event study analyzes events on four dates prior
          to August 9, 2007 and still finds that Freddie Mac’s stock did not show a cause and effect
          relationship on any of the four Analyzed Dates in that period. More specifically, all four
          dates in Dr. Hallman’s study that preceded August 9, 2007 (i.e., October 3, 2006, January
          5, 2007, March 23, 2007 and June 14, 2007) yielded statistically insignificant results.200

138.      By contrast, Dr. Hallman finds the abnormal returns of the two Analyzed Dates in the
          period from August 9, 2007 through the end of the Proposed Class Period (i.e., August
          30, 2007 and November 20, 2007) to be statistically significant. That is hardly surprising,
          given that his model finds that there supposedly were statistically significant abnormal
          returns on 34.2% of the dates during this period.

139.      I re-ran Dr. Hallman’s market model over the credit crisis period (August 9, 2007 through
          November 20, 2007), adding (i) Fannie Mae’s return as an explanatory variable as Dr.
          Hallman acknowledges in his deposition that this GSE was the only appropriate industry
          peer for Freddie Mac;201 and (ii) two indicator variables202 for August 30, 2007 and
          November 20, 2007 (the two Analyzed Dates Dr. Hallman selects during the credit crisis
          period). The results of this regression confirm that Freddie Mac’s abnormal return on
          August 30, 2007 is not statistically significant using the two-tailed test and the
          conventional 5% significance cut off adjusting for the heightened volatility and industry
          effects. [See Appendix 8].

140.      This analysis shows that Dr. Hallman’s claim that Freddie Mac’s stock price displayed a
          cause-and-effect relationship throughout the Class Period depends only on the price
          reaction on November 20, 2007, the last day of the Class Period being statistically
          significant. A showing that there was a negative and significant price reaction on the last

200
      Hallman Report, Table 1.
201
      Hallman Dep., 287: 24 - 288:2.
202
      Dr. Hallman has also used dummy (or indicator) variables in regressions he has conducted in this case.
      [Hallman Dep., 200: 14-18.]



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          day of a span of 330 days is of no probative value. Such a reaction does not constitute
          economic evidence that there was a cause and effect relationship on any other day.

D.        Dr. Hallman’s Analysis of the Other Cammer and Krogman Factors Is Insufficient
          to Support His Opinion.

141.      Although the other Cammer and Krogman factors that Dr. Hallman considers can be
          indicators of market efficiency, they are not, alone, sufficient to establish market
          efficiency.203

142.      As Dr. Hallman acknowledges, the other seven Cammer and Krogman factors set forth
          above all refer to “structural” market conditions.204 These conditions may promote, but
          do not necessarily result in, a cause and effect relationship between new information and
          stock price movements.205 At deposition, Dr. Hallman admitted that, if there is no cause
          and effect relationship between new material information about a company and a quick
          reaction in its stock price, then that company’s stock is not trading in a semi-strong form
          efficient market.206

143.      Accordingly, Dr. Hallman’s effort to check off a list of the factors in Cammer and
          Krogman are not sufficient, from an economic perspective, to establish market efficiency.
          It is the cause and effect relationship between unexpected, material news and stock price
          reaction that is the essence of market efficiency, and Dr. Hallman’s event study fails to
          establish that relationship. The existence of some of the other factors does not establish
          that relationship either, according to the academic literature.

144.      For example, Dr. Hallman asserts that “the idea that large stocks traded on the major
          exchanges (NYSE and NASDAQ) are semi-strong form efficient is taught in MBA
          finance textbooks used at virtually every major business school in the U.S.”207 This


203
      Freddie Mac Kreysar Opinion, page 11.
204
      Hallman Report, ¶3.
205
      Freddie Mac Kreysar Opinion, page 11.
206
      Hallman Dep., 80:2 – 21.
207
      Hallman Report, ¶8.



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          argument proves too much. Under Hallman’s argument, the stock of every large company
          trading on a major exchange would per se be deemed to trade in an efficient market. As
          Dr. Hallman admitted at deposition, absent a cause and effect relationship between
          material news and price reaction, the stock is not trading in an efficient market, even if it
          is traded over the New York Stock Exchange.208 He also admitted that the mere fact that
          a stock is listed on a national exchange does not by itself establish that the stock traded in
          an efficient market.209

145.      In fact, as numerous empirical studies published in leading academic journals over the
          past several decades have established, they have not.

146.      For instance, Bodie et al., a text that Dr. Hallman cites in support of his opinion,
          discusses several instances when even large capitalized stocks, that were actively traded
          and followed by stock analysts, have traded in inefficient markets, for some periods, and
          then traded in efficient markets in other periods.210

147.      Consequently, as Bodie et al. notes, “the EMH [efficient markets hypothesis] has never
          been widely accepted on Wall Street,”211 and a new school of thought dubbed “behavioral
          finance” has developed in the finance literature. In fact, in 2002, the Nobel Prize was
          awarded for research in the field of behavioral finance.212 This field argues that security
          prices may not satisfy the first implication of the EMH, i.e., may not “properly reflect
          whatever information is available to investors.”213




208
      Hallman Dep., 80: 2 – 21.
209
      Hallman Dep., 83: 2 - 8.
210
      Bodie et al., pages 361-364.
211
      Bodie et al., page 356.
212
      Professor Daniel Kahneman of Princeton University developed what he called “Prospect Theory.” His work
      won him and his colleague, Amos Tversky, the Nobel Prize in Economics in 2002, and is the basis of what is
      now called Behavioral Finance. Bodie et al., dedicate a chapter (Chapter 12) to a discussion of behavioral
      finance principles and findings.
213
      Bodie et al., page 381.



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148.      Contrary to Dr. Hallman’s assumption set forth in his report that stocks trading on major
          exchanges trade in efficient markets,214 which is based on an incomplete reading of the
          relevant academic literature, it is now well-accepted that the trading and pricing of even
          stocks of large firms on organized exchanges may violate the EMH over extended time
          periods. This finding is taught at all major MBA schools, including Berkeley, and it is
          supported by well-accepted economic principles and research in the field of behavioral
          finance, as Bodie et al. also discusses.215

149.      As several academic studies have found, even the prices of well-capitalized companies’
          stocks that traded on major exchanges may not be semi-strong form efficient over
          extended periods.216

150.      Further, there is no benchmark against which to measure a number of the Cammer
          factors, such as the number of analysts or market makers for a company’s stock.
          Academic studies, such as Barber et al. (1994) also note:217

                             The various market efficiency criteria applied so far by courts are
                             ad hoc. We know of no systematic body of evidence showing that
                             these or any other criteria distinguish between efficient and
                             inefficient stocks. Nor are we aware of evidence supporting
                             specific cutoff values of these criteria.

151.      In view of the foregoing, a mechanical review of the Cammer and Krogman factors, such
          as Dr. Hallman has done in this case, is inadequate for assessing a stock’s market
          efficiency.




214
      Hallman Report, ¶ 8.
215
      Bodie et al. page 361-364.
216
      Lamont and Thaler (2003a), pages 191-202; Lamont, Owen, and Richard Thaler, (2003), “Can the Market Add
      and Subtract? Mispricing in Tech Stock Carve-Outs,” Journal of Political Economy 111; henceforth, “Lamont
      and Thaler (2003b),” pages 227–268; Fedenia, Mark and Mark Hirschey, (2009), “The Chipotle Paradox,”
      Journal of Applied Finance, Issues 1 & 2, pages 1-16. See also Mitchell, Mark, Todd Pulvino, And Erik
      Stafford, 2002, “Limited Arbitrage in Equity Markets,” The Journal of Finance 57 (2), pages 551 – 584.
217
      Barber, Brad M., Paul, A. Griffin, and Baruch Lev (1994), “The Fraud-on-the-Market Theory and the Indicators
      of Common Stock Efficiency,” Journal of Corporation Law, pages 285-312; henceforth “Barber et al. (1994)”
      at page 290.



                                                        55
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IV.       THE ECONOMIC EVIDENCE DOES NOT SUPPORT A FINDING THAT THE ALLEGED
          MISREPRESENTATIONS AND OMISSIONS INFLATED THE PRICE OF FREDDIE MAC’S
          COMMON STOCK OR THAT THEY WERE MATERIAL.

152.      The Plaintiff alleges: “As a result of Defendants’ false and misleading statements and
          omissions alleged herein, the market price of Freddie Mac common stock was artificially
          inflated during the Class Period.”218

153.      In my opinion, the economic evidence does not support a finding that: (i) the alleged
          misrepresentations were material and caused Freddie Mac’s stock price to become
          inflated; or (ii) information released on November 20, 2007 constituted a curative
          disclosure thus demonstrating that any prior misrepresentation or omission was material
          and caused stock price inflation. In addition, the economic evidence is consistent with
          my conclusion that the alleged failure to disclose Freddie Mac’s internal designations of
          certain loans as C1, C2 and EA219 was not material, from an economic perspective.

A.        The Economic Evidence Does Not Support the Conclusion that Alleged
          Misrepresentations Were Material And Caused Stock Price Inflation.

154.      The Plaintiff alleges that Defendants made numerous misrepresentations that artificially
          inflated Freddie Mac’s stock price. According to the TAC, these misrepresentations were
          made on 27 dates during and prior to the Proposed Class Period220 and such
          misrepresentations could potentially impact Freddie Mac stock’s price on 28 effective
          dates.221 Assuming arguendo that Freddie Mac’s stock traded in an efficient market, the

218
      TAC, ¶282.
219
      See for example, TAC, ¶¶ 37, 67 and 182.
220
      Five of these alleged misstatements purportedly occurred prior to the Proposed Class Period. [TAC, ¶¶ 140-
      143] However, the Plaintiff does not appear to be claiming any damages on the basis of these five alleged
      misstatements. The Complaint notes: “As set forth in the certification appended to the Plaintiff’s Original
      Complaint and incorporated by reference herein, Plaintiff purchased shares of common stock of Freddie Mac
      during the Class Period at artificially inflated prices and has been damaged thereby.” [TAC, ¶18.]
221
      Dr. Hallman assessed Freddie Mac stock’s response to unexpected news based on the stock’s abnormal return
      over one day. Therefore, I too have examined the statistical significance of Freddie Mac’s abnormal return over
      one day; namely on the day of the alleged misstatement if it occurred during (or before) market trading hours, or
      on the following day if the alleged misstatement occurred after trading hours. I refer to these dates as the
      “effective dates.” Note that Plaintiff alleges that on August 1, 2006 misstatements were made during as well as
      after trading hours. Consequently, I have examined Freddie Mac’s stock price reaction to such alleged
      misstatements by analyzing the statistical significance of the stock’s abnormal return on August 1 and 2, 2006.
      In addition, the Plaintiff alleges that misstatements were made on 26 other dates during or prior to the Proposed
                                                                                                        … continued

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          Company’s stock price would be expected to react quickly and logically to an alleged
          misrepresentation if it was material. That is, an economist would expect Freddie Mac’s
          abnormal return to be positive and statistically significant on the effective date following
          an allegedly inflationary misrepresentation.

155.      However, Dr. Hallman testified that he did not express any opinion regarding the
          materiality of the alleged misrepresentations and omissions in the TAC.222 Using Dr.
          Hallman’s own event study model,223 I find that Freddie Mac’s abnormal return either
          was not statistically significant or was statistically significant in the negative direction on
          27 of the 28 effective dates at issue.224 A negative price reaction following a purportedly
          inflationary statement does not support the Plaintiff’s claim that alleged statements were
          material and caused the Company’s stock price to become inflated, even assuming
          arguendo that the stock did trade in an efficient market.




      Class Period. Therefore, to analyze whether such alleged misstatements on 27 dates were material and caused
      Freddie Mac’s stock price to become inflated, I have examined the statistical significance of Freddie Mac’s
      abnormal return on 28 effective dates. Out of the 27 dates, there were 22 dates within the Proposed Class
      Period when alleged misstatements were made according to the TAC and I refer to these 22 dates as “Alleged
      Misstatement Dates.” See Appendix 9 for a list of all alleged misstatement dates and corresponding effective
      dates.
      Besides the alleged misstatements that could have impacted Freddie Mac’s stock price on these 28 effective
      dates, TAC also alleges a misstatement that was part of an article published in Mortgage Risk Magazine in
      October 2007, whose effective date cannot be determined because the TAC does not provide the specific date of
      the alleged misstatement.
222
      Hallman Dep., 364: 14 - 18.
223
      I use Dr. Hallman’s own flawed event study model to analyze whether Freddie Mac’s abnormal returns
      following alleged misstatements were statistically significant in the logical (positive) direction because, by
      doing so, the odds of identifying statistically significant abnormal returns is higher (a finding that would support
      the Plaintiff’s claim) than would be the case if I were to employ other, more scientifically reliable models.
224
      In order to assess the significance of Freddie Mac’s abnormal returns on the five effective dates prior to the
      Proposed Class Period, I used the same market model (i.e., used same market index and same estimation period)
      that Dr. Hallman used [Hallman Report, ¶19] and include a separate indicator variable to identify each effective
      date. I found that Freddie Mac’s abnormal return was not statistically significant in the expected direction on
      any of the five effective dates. I found Freddie Mac’s abnormal return to be not statistically significant
      following four of the pre-Class Period alleged misrepresentations, and statistically significant but negative
      following the fifth. A negative price reaction following a statement that allegedly inflated the stock price
      contradicts that allegation. Even cumulatively, Freddie Mac’s abnormal return was negative over these five
      effective dates. See Appendix 9 for event study results based on Hallman’s model for 28 effective dates
      corresponding to various alleged misstatements.



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156.      April 16, 2007 is the only date on which Freddie Mac’s abnormal return following an
          alleged misstatement was statistically significant and positive according to Dr. Hallman’s
          event study model. However, from an economic perspective, there is no basis to attribute
          this price reaction to the Business Week article225 that the Plaintiff claims was a result of
          an alleged misstatement by Defendant Piszel.

157.      The Business Week article’s conclusions are based on its own independent analysis of
          previously published data, not Mr. Piszel’s remarks. In particular, the article considered
          two alternative sets of previously-known economic data to assess the extent of Freddie
          Mac’s subprime exposure through its Retained portfolio,226 namely:

                          The Company’s own disclosure that $124 billion of the $235 billion
                           “private label loans” in its Retained portfolio (at the time) was backed by
                           subprime mortgages (as identified by the securities’ originators); and

                          Publicly available data about private-label, mortgage-backed securities
                           (not specifically those retained by Freddie Mac) issued the previous year
                           compiled by Inside Mortgage Finance (a public data vendor), according to
                           which 74% of such securities were “not considered regular or prime”.

158.      Then, given their independent estimate of the contemporaneous size of Freddie Mac’s
          overall business ($2.2 trillion), the Business Week article’s authors concluded that,
          “[s]till, in either calculation, subprime is only a small piece of [Freddie Mac’s] overall
          business.”227

159.      As the Business Week article’s conclusion is based on previously known facts, its
          contents cannot be deemed to constitute material new information from an economic
          perspective. Thus, assuming arguendo that Freddie Mac’s stock traded in an efficient


225
      TAC, ¶165 which cites “How Big Is The Bite On Fannie And Freddie,” Business Week, April 15, 2007, 8:00pm
      EDT.
226
      Freddie Mac’s Retained Portfolio refers to the mortgage loans and mortgage-related securities that the Company
      purchased for its own investment. [Freddie Mac 2005 Annual Report, page 4.]
227
      “How Big Is The Bite On Fannie And Freddie,” Business Week, April 15, 2007.



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          market as the Plaintiff asserts, there is no basis to attribute the stock’s abnormal return on
          April 16, 2007 to the above article.228

160.      In short, according to my review of the economic evidence, there is no basis to accept or
          assume that the alleged misrepresentations caused Freddie Mac’s stock price to become
          inflated because: (i) Freddie Mac’s abnormal return was not statistically significant in an
          inflationary direction on 27 of the 28 effective dates at issue, and (ii) on the only date
          (April 16, 2007) on which Freddie Mac’s abnormal return was statistically significant and
          positive, that abnormal return cannot be attributed to alleged misstatements by any
          Defendant.

B.        The Economic Evidence Does Not Support the Conclusion that Information
          Released on November 20, 2007 Constituted a Curative Disclosure that Corrected
          Material Misrepresentations or Omissions.

161.      Unable generally to identify effective dates with statistically significant abnormal return
          in the expected direction, one would expect to see Dr. Hallman offer an analysis of
          curative disclosures as a proof or demonstration of materiality.

162.      At deposition, Dr. Hallman testified that he did not examine any disclosure for the
          purpose of determining whether it was a curative disclosure.229                    In his report, Dr.
          Hallman does not analyze the alleged curative disclosures identified by Plaintiff in the
          TAC, with one exception. The only alleged curative disclosure that Dr. Hallman has
          analyzed is the November 20, 2007 press release. The TAC asserts that, in the November
          20, 2007 press release, “[f]or the first time, Defendants admitted that Freddie Mac’s
          investments in subprime and nontraditional mortgage products had subjected
          Freddie Mac to significant risk and caused it to sustain substantial losses.”230
          Similarly, the TAC states that “the November 20, 2007 press release admitted that the

228
      The TAC also states that the Business Week article noted that Freddie Mac and Fannie Mae “mitigate their risk
      by primarily owning the highest-rated securities in the subprime group and then adding credit enhancements,
      extra insurance against potential losses.” [TAC, ¶165]. However, such a comment cannot be considered
      material from an economic perspective because the Company’s use of credit enhancements to mitigate credit
      risk was publicly disclosed throughout and even prior to the Proposed Class Period.
229
      Hallman Dep., 363: 24 - 364: 3.
230
      TAC, ¶190.



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          Company had been investing in subprime, Alt-A and nontraditional mortgage
          products.”231        More generally, the TAC asserts that: “On November 20, 2007, Freddie
          Mac finally revealed what it had knowingly or recklessly failed to disclose during the
          Class Period.”232

163.      I have searched in the press release for economic evidence to support these allegations,
          and I have found none. As Freddie Mac’s November 20, 2007 press release and the
          transcript of the Company’s investor conference call that day make plain, the Company
          made no corrections to its purported disclosure defects regarding its subprime or
          operational risk exposure.

164.      At deposition, Hallman stated that a working definition of subprime loan that was used
          often was based on a FICO score cutoff, which he believed was a score of 620 or 650.233

165.      He also admitted that, because Freddie Mac had previously disclosed the various credit
          characteristics of the loans in its guarantee portfolio, including FICO scores, the market
          could not have learned of Freddie Mac’s subprime exposure for the first time in the
          November 20, 2007 press release.234

166.      The Company’s press release that day, which the TAC cites as a purported curative
          disclosure, does not even mention the terms “subprime,” “nontraditional loan products”
          or “fraud”, which according to the Plaintiff are the central issues about which the
          Defendants had misled investors during the Proposed Class Period.

167.      Although Freddie Mac acknowledged that its Q3 2007 results had been “impacted by the
          deterioration” in 2007 in “the country’s housing and credit markets”235 [which was
          well-known publicly], such a statement does not constitute an admission for the “first
          time” that “Freddie Mac’s investments in subprime and nontraditional mortgage products

231
      TAC, ¶227.
232
      TAC, ¶134.
233
      Hallman Dep., 295: 9 - 16.
234
      Hallman Dep., 346: 10 - 347: 12.
235
      Quoted in TAC at ¶190.



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          had subjected Freddie Mac to significant risk and caused it to sustain substantial losses”
          as the Plaintiff asserts.236 To the contrary, in its conference call the same day, Freddie
          Mac discussed its previously disclosed subprime exposure in its Retained portfolio (as the
          TAC acknowledges237) and noted that:238

                            The credit profile of our [R]etained portfolio remains of the
                            highest credit quality with 57% in agency mortgages and 33% in
                            non-agency securities, of which 97% is triple A rated and does not
                            include any CDOs. … Despite the continued deterioration of the
                            housing market and increases in non-prime delinquencies, we
                            remain comfortable with our risk position on these assets. For the
                            subprime securities, while we have experienced some
                            downgrades, … no losses are projected on these securities.

168.      Notably, on November 20, 2007, Freddie Mac did not disclose the specific amounts of
          EA, C1 and C2 loans that were contained within its single family guarantee portfolio:
          rather, it provided numerous other credit characteristics regarding the composition of its
          guarantee portfolio. The public was not informed of the specific amounts of EA, C1 and
          C2 loans that were contained within its single family guarantee portfolio until Freddie
          Mac entered into a Non-Prosecution Agreement with the SEC on December 16, 2011,
          more than 4 years after the Proposed Class Period had ended.

169.      In short, the decline of Freddie Mac’s stock price following its Q3 2007 earnings release
          on November 20, 2007 cannot be considered a result of a curative disclosure and hence it
          cannot be deemed to be a measure of artificial inflation impounded in Freddie Mac’s
          stock price prior to this date due to alleged misrepresentations or omissions at earlier
          points in time.

170.      The Plaintiff does not identify how specific alleged misrepresentations or omissions were
          cured in the period following the Proposed Class Period through specific corrective



236
      TAC, ¶190.
237
      As TAC mentions, at the end of 2006, “Freddie had … about $124 billion of AAA rated subprime exposure in
      [its] retained portfolio.” [TAC, ¶84].
238
      “FRE - Q3 2007 Freddie Mac Earnings Conference Call,” Thomson StreetEvents, November 20, 2007.



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          disclosures. Nor does Dr. Hallman offer any economic evidence to confirm that Freddie
          Mac’s price reactions on purported disclosure dates can be attributed to such disclosures.

C.        The Alleged Failure to Disclose Freddie Mac’s Internal Designations of Certain
          Loans as C1, C2 and EA Was Not Material, From An Economic Perspective.

1.        To Enable Investors to Gauge Its Credit Risk, Freddie Mac Provided Detailed
          Economic Characteristics of the Mortgage Portfolio, As Well As Data Regarding
          Past Performance, Expected Future Losses, and Provisions For Credit Losses.

171.      As Freddie Mac noted in an annual report, it faced mortgage credit risk that a borrower
          might “fail to make timely payments on a mortgage or security [Freddie Mac] own[ed] or
          guarantee[d].”239 In addition to the general economy, Freddie Mac’s mortgage portfolio’s
          credit risk was primarily related to certain economic characteristics of mortgages within
          the portfolio, such as the “credit profile of the borrower on the mortgage, the features of
          the mortgage itself, [and] the type of property securing the mortgage.”240 Accordingly,
          the Company disclosed such key characteristics of its Single Family Total mortgage
          portfolio (“mortgage portfolio”) in detail.241

172.      Specifically, the Company disclosed the proportion of its portfolio that belonged to
          particular credit score ranges, and (original and current) loan-to-value ratio (“LTV ratio”)
          ranges. The Company also disclosed the proportion of its portfolio that was comprised of
          loans for particular purposes (purchase or cash-out refinance, among others), loans for
          particular types of property and loans for unoccupied properties.

173.      According to economic principles, such characteristics are key factors in assessing the
          credit risk related to mortgages.242 As Freddie Mac disclosed, “there is no universally
          accepted definition” of the term “subprime.”243                  Hence, the Company did not


239
      Freddie Mac 2005 Annual Report, page 63.
240
      Freddie Mac 2006 Annual Report, page 66.
241
      See, e.g., Freddie Mac 2005 Annual Report, Table 37 at page 67 and Freddie Mac 2006 Annual Report, Table
      38 at page 70.
242
      Avery, Robert B. Raphael W. Bostic, Paul S. Calem, and Glenn B. Canner (1996), “Credit Risk, Credit Scoring,
      and the Performance of Home Mortgages,” Federal Reserve Bulletin; henceforth “Avery et al. (1996)”.
243
      Freddie Mac 2006 Annual Report, page 69.



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          “characterize the single-family loans underlying the PCs and Structured Securities in [its]
          credit guarantee portfolio as either prime or subprime.”244 Instead, given the lack of
          unanimity regarding what the term “subprime” even means, the Company’s detailed
          disclosures of its mortgage portfolio’s credit characteristics conveyed relevant
          information to investors in a way that would enable them to evaluate the credit risk in
          Freddie Mac’s loan portfolio.

174.      For instance, Freddie Mac’s disclosures were sufficient to enable an investor to calculate
          the share of the Company’s portfolio that comprised loans to borrowers with FICO
          scores245 less than 620 or 660 or the share dedicated to mortgages with LTV ratios above
          80% or 90%. As an illustration, consider the Company’s 2006 Annual Report where
          Freddie Mac disclosed that 10% and 5% of the single family loans it had purchased
          during 2006 were loans made to borrowers with FICO scores from 620 to 659 and below
          620, respectively.246 By adding these two numbers (10% and 5%), an investor could
          determine that 15% of the Company’s portfolio comprised mortgages to borrowers with
          FICO scores less than 660.

175.      Notably, at deposition, Dr. Hallman testified that Freddie Mac disclosed in its 2005 and
          2006 annual reports key credit characteristics to investors, including LTV ratios and
          FICO scores, and that such information was reflected in the price of Freddie Mac
          stock.247 Dr. Hallman also testified that, while he did not know if there was a market
          consensus as to the definition of a subprime loan, a “working definition that was used
          often… was based on a FICO cutoff.”248 He believed that FICO score “cutoff” was either



244
      Freddie Mac 2006 Annual Report, page 69.
245
      As Freddie Mac disclosed, “Credit scores are a useful measure for assessing the credit quality of a borrower.
      Credit scores are numbers reported by credit repositories, based on statistical models, that summarize an
      individual’s credit record and predict the likelihood that a borrower will repay future obligations as expected.
      FICO scores, developed by Fair, Isaac and Co., Inc., are the most commonly used credit scores today.” [Freddie
      Mac 2006 Annual Report, page 71].
246
      Freddie Mac 2006 Annual Report, Table 38 on page 70.
247
      Hallman Dep., 299: 3 – 304: 23; 307: 11 – 312: 21.
248
      Hallman Dep., 294:5 – 295:16.



                                                           63
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          620 or 650. 249 Accordingly, he testified that, to the extent that anyone defined subprime
          loans as FICO scores of below 620 or 660, Freddie Mac disclosed that information for
          2003, 2004, 2005, and 2006.250

176.      It is important to note that, while Freddie Mac held mortgages with LTV ratios greater
          than 80% (as the Company noted in its disclosures throughout the Proposed Class
          Period), its charter required it to obtain credit enhancements at the time of purchase to
          offset the incremental risk associated with these mortgages.251 Therefore, categorizing
          Freddie Mac’s mortgages with LTV ratios higher than 80% as “subprime” would be
          incorrect from an economic perspective, as it would ignore the offsetting beneficial
          impact to the Company of such credit enhancements.252 Further, Freddie Mac provided
          detailed disclosures regarding the performance of its credit-enhanced mortgage portfolio
          on a monthly basis throughout the Proposed Class Period.

177.      In addition to disclosing its key credit risk characteristics, the Company also disclosed
          how its mortgage portfolio had performed on a monthly basis by reporting the




249
      Hallman Dep., 294:5 – 295:16.
250
      Hallman Dep., 300:23 – 301:9; 309:4 – 310:16.
251
      Freddie Mac’s credit enhancements included “one or more of the following: (a) primary mortgage insurance;
      (b) a seller’s agreement to repurchase or replace any mortgage in default (for such period and under such
      circumstances as we may require); or (c) retention by the seller of at least a 10 percent participation interest in
      the mortgages. In addition, for some mortgage loans, we elect to share the default risk by transferring a portion
      of that risk to various third parties through a variety of other credit enhancements. In many cases, the lender’s or
      third party’s risk is limited to a specific level of losses at the time the credit enhancement becomes effective.”
      [Freddie Mac 2006 Annual Report, page 67]. Freddie Mac recorded the fair value of such credit enhancements
      as an asset on its balance sheet. [Freddie Mac 2006 Annual Report, page 40, 147].
      In addition, Freddie Mac also focused on other various other methods to manage its credit risk, including
      “underwriting requirements and quality control standards; portfolio diversification; and portfolio management
      activities, including loss mitigation and the use of credit enhancements.” [Freddie Mac 2006 Annual Report,
      page 66].
252
      Freddie Mac’s charter also limited the size of a single mortgage that the Company could purchase to $417,000
      in 2006-2007. Such individual mortgage limits provided an additional safeguard against credit loss. As the
      Company noted, “Our charter places a dollar amount cap, called the ‘conforming loan limit,’ on the size of the
      original principal balance of single-family mortgage loans we purchase. … Higher limits apply to two- to four-
      family residences. The conforming loan limits are also 50 percent higher for mortgages secured by properties in
      Alaska, Guam, Hawaii and the U.S. Virgin Islands. No comparable limits apply to our purchases of multifamily
      mortgages.” [Freddie Mac 2006 Annual Report, page 3].



                                                            64
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          delinquency rates of different components of its single-family and multifamily mortgage
          portfolio.253

178.      Prior to and during the Proposed Class Period, Freddie Mac disclosed its “credit risk
          sensitivity” on a quarterly basis, which represented the present value of its “expected
          credit losses [in its single-family mortgage portfolio] from an immediate five percent
          decline in single-family home prices for the entire U.S.” both with and without “receipt
          of private mortgage insurance claims and other credit enhancements.”254                          As the
          Company’s credit risk sensitivity disclosure indicated, Freddie Mac’s expected credit
          losses related to its single-family mortgage portfolio were likely to increase both in
          absolute terms (“NPV”), and as a percentage of the size of the portfolio which varied
          over time (“NPV ratio” terms) and, over the Proposed Class Period, as conditions in the
          U.S. housing markets deteriorated.

179.      The Company also disclosed its provision for credit losses on a quarterly basis, which
          increased over the Proposed Class Period.255




253
      Freddie Mac disclosed that its “Single-family delinquencies are based on the number of mortgages 90 days or
      more delinquent or in foreclosure while multifamily delinquencies are based on net carrying value of mortgages
      60 days or more delinquent or in foreclosure.” [Freddie Mac Monthly Volume Summary: August 2006, footnote
      12].
254
      Freddie Mac Supplement dated January 5, 2007 to Information Statement dated June 28, 2006, page 7.
255
      See Figure 3



                                                         65
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Figure 3 - Every Quarter over the Proposed Class Period, Freddie Mac Recorded
Increasingly Larger Provisions for Credit Losses 256




180.      Credit risk characteristics assist investors to forecast (though imperfectly) the Company’s
          expected future credit losses. Freddie Mac not only disclosed its relevant credit risk
          characteristics but also its expected future credit losses.

181.      As Figure 3 shows, throughout the Proposed Class Period, Freddie Mac’s delinquency
          rates remained stable and low relative to even conforming prime loans that were
          securitized by non-agency financial institutions.




256
      Source: Freddie Mac Supplement dated August 30, 2007 to Information Statement dated March 23, 2007



                                                      66
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Figure 4: As Freddie Mac Disclosed, Its Single Family Mortgage Delinquency Rates Were
Even Lower than the Delinquency Rates for Non-Agency Prime Mortgages257
                             1.40%

                                          Non-Agency Conforming Prime Loans
                                                                                                                                                                                               1.24%
                                          Freddie Mac Loans
                             1.20%
                                                                                                                                                                                   1.11%
                                                                                                                                                                       1.06%

                                                                                                                                                         0.99%
                             1.00%
                                                                                                                                    0.95%       0.95%
                                                                                                            0.92%       0.93%
                                                                                                0.89%
                                                                                    0.85%
      90+ Delinquency Rate




                                                                         0.81%
                             0.80%                           0.76%
                                                 0.71%
                                      0.66%


                             0.60%

                                                                                                                                                                                                   0.51%
                                                                                                                                                                                       0.46%
                                                                                                    0.43%       0.43%                                                      0.44%
                                                     0.40%                  0.41%       0.42%                               0.40%                              0.42%
                                         0.39%                   0.40%                                                                  0.40%       0.40%
                             0.40%




                             0.20%




                             0.00%
                                      Aug‐06     Sep‐06      Oct‐06      Nov‐06     Dec‐06      Jan‐07      Feb‐07      Mar‐07      Apr‐07      May‐07      Jun‐07      Jul‐07     Aug‐07      Sep‐07




182.                                 As Freddie Mac had disclosed, “[t]here is no universally accepted definition of
                                     subprime.”258 While the term “subprime” is widely used, there is no consensus among
                                     market practitioners, regulators, or economists about what types of mortgages should be
                                     considered subprime.259 Therefore, Freddie Mac did not “characterize the single-family




257
                             Data on Non-Agency Conforming Loans are obtained from TrueStandings Securities database. Prime loans are
                             designated within the data, and “are in general made to borrowers with good to very good credit based upon a
                             traditional set of underwriting guide-lines.” [www.truestandings.com]. The delinquency rate for Non-Agency
                             Conforming Loans refer to the Mortgage Banker Association (MBA) Delinquency Count 90+ criterion.
258
                             Freddie Mac 2006 Annual Report, page 69.
259
                             “[T]here is no consensus among either lenders or researchers about what types of mortgages should be
                             considered subprime.” [Mayer, Chris and Karen Pence, (2008), “Subprime Mortgages: What, Where, and to
                             Whom?,” Finance and Economics Discussion Series Divisions of Research & Statistics and Monetary Affairs
                             Federal Reserve Board, Washington, D.C., pages 1 – 44 at page 1.]



                                                                                                                        67
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          loans underlying the PCs and Structured Securities in [its] credit guarantee portfolio as
          either prime or subprime.”260

183.      Nevertheless, Freddie Mac did not confine itself to the extensive disclosure of the
          financial data I have discussed thus far. Additionally, Freddie Mac disclosed its growing
          participation in nontraditional loans during the Proposed Class Period. For example, on
          March 23, 2007, in its 2006 annual report, Freddie Mac disclosed that: 261

                             As the residential mortgage market continues to grow, competition
                             among loan originators and other market factors, such as relatively
                             low interest rates and generally high home prices, have led to a
                             higher proportion of variable-rate mortgage products and the
                             proliferation of new mortgage products that offer borrowers a
                             variety of payment options. We increased our purchases of these
                             variable-rate and non-traditional mortgage products as they
                             became more prevalent in the market.

2.        Given Freddie Mac’s Detailed Disclosures during the Proposed Class Period, the
          Alleged Omission of Internal Loan Designations Was Not Material.

184.      Relying on the purported statement of facts set forth in Exhibit A to the Non-Prosecution
          Agreement (“NPA”) that Freddie Mac entered into with SEC on December 16, 2011 to
          “substantially support [its] claims,”262 the Plaintiff alleges that Freddie Mac misled
          investors as to the number of “Caution Loans (C1, C2)” and “‘Expanded Approval’ (or
          ‘EA’) loans” in its Guarantee portfolio.263

185.      Given the detailed disclosures that I discuss above, the allegation that it was a material
          omission for the Company not to disclose the share of its portfolio comprised of
          mortgages with certain internal designations, such as C1, C2 or EA, is illogical from an
          economic perspective.




260
      Freddie Mac 2006 Annual Report, page 69.
261
      Freddie Mac 2006 Annual Report, page 24.
262
      TAC, ¶12.
263
      TAC, ¶¶ 37, 61, 138.



                                                     68
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186.      Similarly, the allegation that Freddie Mac misled investors about the high credit risk of
          its mortgage portfolio by failing to disclose the share of its portfolio comprised of C1,
          C2, or EA mortgages is also illogical from an economic perspective.

187.      As I have discussed above, Freddie Mac made detailed disclosures about the credit
          characteristics of its Guarantee portfolio, which investors could use to gauge the
          Company’s credit risk profile. For instance, given the Company’s disclosures about the
          percentage of its mortgage portfolio to borrowers with different categories of FICO
          scores, and to mortgages in different LTV ratio categories, investors could readily
          calculate the share of the Company’s mortgage portfolio that consisted of loans to
          borrowers with FICO scores less than 660, or loans with LTV ratio higher than 80%, by
          simply adding certain disclosed line items in Freddie Mac’s Annual Reports.

188.      Further, as I noted above, Freddie Mac’s mortgage credit risk characteristics are relevant
          from an economic perspective only to the extent that they help shareholders gauge the
          Company’s expected losses due to credit risk. As the Company also provided detailed
          disclosures about its portfolio’s mortgage performance, expected losses and its provisions
          for credit losses, the Plaintiff’s allegation that Freddie Mac’s purported failure to disclose
          the proportion of its mortgage portfolio that was internally designated as C1, C2 or EA
          constituted a material misrepresentation is illogical from an economic perspective.

189.      Freddie Mac’s internal designations for particular loans would be immaterial to a
          reasonable investor, as it would not change the “total mix of information” that a
          reasonable investor would consider material, i.e., relevant to assess the Company’s credit
          risk and the performance of the Company’s mortgage portfolio. Rejecting an identical
          claim by the plaintiffs in another class action against Freddie Mac, the Court in the
          Southern District of New York recently opined:264

                            Freddie Mac’s broad disclosure [of] all of its loan characteristics
                            was an accurate way to relay information to investors, given the

264
      Jino Kuriakose, individually and on behalf of all others similarly situated, Plaintiff, against Federal Home Loan
      Mortgage Corp., Richard Syron, Patricia L. Cook, And Anthony S. Piszel, Defendants. United States District
      Court, Southern District Of New York 08 Civ. 7281 (JFK), Opinion and Order dated September 24, 2012.



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                         confusion surrounding the term “subprime.” Freddie Mac’s method
                         of disclosing information made it possible for a reasonable investor
                         to, with little effort, take his own measure of risk in Freddie Mac’s
                         loan portfolio.

190.    Given Freddie Mac’s detailed disclosures during and prior to the Proposed Class Period
        regarding the risks that the Company faced during the Proposed Class Period, in my
        opinion, there is no economic evidence to suggest that Freddie Mac’s failure to disclose
        the amount of its portfolio by internal loan designation constituted an omission of
        material fact.

191.    This conclusion is consistent with and further confirms my opinion set forth above, that
        the economic evidence does not support a finding that the Defendants’ alleged
        misrepresentations and omissions inflated the price of Freddie Mac’s common stock.

V.      CONCLUSIONS

192.    In my opinion, Dr. Hallman fails to establish that the market for Freddie Mac stock was
        semi-strong form efficient during the Proposed Class Period. His event study results, if
        anything, prove that it was not. Dr. Hallman’s event study is fundamentally flawed for
        numerous reasons and its results are unreliable.

193.    In my opinion, the economic evidence does not support a finding that the alleged
        misrepresentations and omissions inflated the price of Freddie Mac’s common stock or
        that they were material.




                                                                             Respectfully submitted,




                                                                      ________________________
                                                                                Mukesh Bajaj, Ph. D
                                                                                 December 14, 2012


                                                  70
